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                     Exhibit 9
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   REPORT BY DEFENDANT'S EXPERT PURSUANT TO
FEDERAL RULE OF CIVIL PROCEDURE §26(a)(2), (A) and (B)

 MILLER, Deborah vs. Service Employees International Union




                                Date of Report
                                    10/4/19




                                  Prepared by

                   Edward L. Bennett, M .A ., C.R.C., C.D .M.S.
                Diplomate, American Board of Vocational Experts

                 COAST REHABIUTATlON SERVICES, INC.




                                                                  Bennett - 001
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                                                                                                                             Bennett - 002
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         Coast Rehabilitation Services, Inc.
                                    Mail all correspondence to the Santa Barbara office
                                    • 5290 Overpass Road, Suite 118, Santa Barbara, CA 93111 • (805) 692-1823
                                    • Fax (805) 692-1827 • E-mail: info@coastrehabservicesinc.com


                               Report by Defendant's Expert Pursuant to
                          Federal Rule of Civil Procedure §26(a)(2), (A) and (B)

RE                                                                   MILLER, Deborah vs. Service Employees
                                                                     International Union
COURT VENU E                                                         U.S. District Court ofNevada
CASE NO.                                                             2: 18-cv-304-RFB-CWH
DATE OF TERMINATION                                                  118/18
OCCUPATION                                                           Lead Organizer with SEIU (Service
                                                                     Employees International Union,
                                                                     Las Vegas)
PRE-TERMINATION MEDICAL CONDITION                                    Diabetes (not insulin dependent)
DATE OF REPORT                                                       10/4/ 19

Relevant Timeline & Other Pertinent Information-

Date began work w ith SEIC                        4/23/09
Last date worked prior to termination             - 9/28/17 1 (placed on disability per 9/28117 Physician RTW
                                                  Form/Or. Liu)
Date expected to RTW from disability :            --10/ 17/17 (10111117 Physician RTW Form/Dr. Liu)
                                                  --10/30/1 7 (1 0/26117 Ltr toP by SEJU Mgmt.)
                                                  -- 118/ 18 (113118 Letter by Local I 107 Denying Grievance)
Date RTW'd from disability leave                  N/A. "On approved medical leave from before and
                                                  through 10/17 and had not worked since then until the
                                                  date of her announced separation, 117/18. She also did
                                                  not work until the date of her final paycheck.(2/ 6/ 18 Ltr
                                                  to NV Dept. ofEmployment by S. McDonald Esq./Urbin Law
                                                  Firm)
Date of voluntary resignation                     1/7118
Date of termination (DOT)                         1/8118 (8/12119 P 's Economist)



1
  Per a 4/27/ 18 letter by plaintiff's attorney, her last date worked may actually have been earlier, sometime between
9/ 19/ 17 (when she saw her PCP regarding a fall sustained on 911 3/17, and he alluded to an upcoming, prescheduled
trip to Canada to see her parents) and 9/25/ 17 (when she collapsed again at a restaurant in Canada). It is unknown
how much, if at all, she worked between her 9/ 13/ 17 fall and >9/25117 return from vacation.




                                                                                                        Bennett - 003
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Report by Defendant's Expert Pursuant to FRCP §26(a)(2), (A) and (B)
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Last date of paid employment                        Paid through .,..1112/18 though she in fact did not work.
                                                    (216118 Ltr to NV Dept. of Employment by S. McDonald
                                                    Esq./Urbin Law Firm)
Age at DOT                                          56.77 years
Current age                                         58.50 years
Earnings at date of separation                      $74,847.75/year

Mitigation Effort-
Time elapsed since DOT                              1.7 years
Date commenced job search                           1111117 (..,. 2 months prior to termination)
Job search period                                   11/1117 to 9/13/19 (1.83 years, 22.4 months, 97 weeks, or
                                                    485 work days) 2
First date of employment post-DOT                   3/19/18 (with DaVita, where she remains working to date)
Time required to locate employment                  4.5 months
Period of unemployment post-DOl                     2.35 months
Most recent job search contact                      5/27/19 (9/ 13119 P 's Resp to Rogs Exhibit A)
# contacts made ( 11/1/17 - 9/ 13/19]               42 (including 40 contacts listed by plaintiff in her 9/13/19
                                                    Response to Interrogatories plus apparent applications to
                                                    Teletech & DaVita, both of which offered her jobs)
Intensity ofjob search                              Considering 1111/17 to 9/13119 1, 22.95/year; 1.88/ month ;
                                                    0.43/week; 0.08/day.
Emphasis of job search                              Labor relations ... x3; HR x30; other/clerical etc. x7.
Earnings demonstration post-DOT                     2018 Teletech $486.46; 3/ 19/ 18 - 7/6/19 DaVita/Healthcare
                                                    Partners $40,11 .33. Total2018- 7/6/19 $41,297.79.

Reason for Referral

The file of Deborah Miller was referred to the office of Coast Rehabilitation Services by Eli Naduris-
Weissman, Esq. (second chair), of the firm Rothman, Segall & Greenstone, initially via the phone on
8/6/19, with formal retention entered into via contract dated 9/4119 with Grace Vergara, Executive
Director of Nevada Service Employees Union Local II 09, as well as receipt of a retention check from
Nevada Service Employees Union (check #320805 dated 9/3/ 19).

The purpose ofthe referral, per Specific Services Requested checklist in the Retainer Agreement, was for
this office to perform the following:

I) Vocational Evaluation to determine post-termination employability and earnings capacity;
2) Rebuttal of the Vocational Evaluation by plaintifrs expert; and
3) Analysis of plaintifrs duty to mitigate damages.


2 From date offrrst contact noted on plaintiff's list of job search contacts to 9/ 13/1 9 date of plaintiffs response to
interrogatories providing list ofjob search contacts as of that date.




                                                                                                           Bennett - 004
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Report by Defendant's Expert Pursuant to FRCP §26(a)(2), (A) and (B)
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The evaluation is based upon the record as provided (listed on attached Exhibit A to this report, this
counselor's file reviews 1-24, with file# 1 received 8/30/ 19; #2-22 received 9/ 16/19; and #23-24 received
9/27119).

Edward L. Bennett, M.A., Certified Rehabilitation Counselor, Certified Disability Management Specialist,
Diplomate, American Board of Vocational Experts, of Coast Rehabilitation Services, [nc., submits the
following report:

I.      Vital Statistics

        A.      Plaintiff:                               Deborah Miller
        B.      Date of birth:                           3/21/61
        c.      Current address:                         9234 Camden Heights Ct., Las Vegas, NV
                                                         89123
        D.      Educational attainment:                  •B.S.C., International Relations, from Elmira
                                                         College, Elmira, NY.
                                                         •6-month internship, United Nations HQ,
                                                         New York City, NY (dates not provided).

                                                         Research [nternational Studies Major at Elmira
                                                         College:

                                                         International Studies at Elmira College encom-
                                                         passes and overlaps with many disciplines
                                                         such     as    Anthropology,      Comparative
                                                         Literature,,      Economics,      International
                                                         Business, Political Science, Sociology, and
                                                         various language studies, to name a few. As a
                                                         result, there are numerous possibilities of
                                                         specialization and a degree in International
                                                         Studies can lead to a ~wide variety of career
                                                         paths. International Studies majors, in addition
                                                         to several basic requirements, complete require-
                                                         ments for one of the 3 areas of international
                                                         studies: European, Asian, and General. Special
                                                         emphasis is placed on foreign language skills
                                                         and cross-cultural experiences.

        E.      Licenses and/or certifications:          •Certificate of Training from FMCS (Federal
                                                         Mediation Conciliatorv Services) Gust cause &
                                                         steward training).




                                                                                            Bennett - 005
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                                                 •Labor Arbitration Certification from Labor
                                                 Arbitration Institute (labor law & arbitration).

        F.    Legal:                             Disability
                                                 •Work Status: No work x2 weeks. (9/28117
                                                 Physician RTW Form/Dr. Liu)
                                                 •May RTW 10/17/17. Patient has bilateral hip
                                                 pain with diabetic neuropathy; recommend desk
                                                 job. (10111117 Physician RTW Form/ Dr. Liu)
                                                 •Patient may not exceed 50% sitting and 50%
                                                 standing during her shift until 1/23/18.
                                                 (10/23117 Physician RTW Form/Dr. Liu)

                                                 Union Grievance
                                                 •10/29/17 grievance filed by NSEUSU
                                                 (Nevada Service Employees Union Staff
                                                 Union) on behalf of Ms. Miller over denial of
                                                 accommodations.
                                                 •1/3/18 grievance denied via letter sent by
                                                 Local 11 07, expressing unreasonableness of
                                                 requested accommodations and directing
                                                 Ms. Miller to return to work on 118/18.

                                                 Voluntary Termination
                                                 •1/7/18, Ms. Miller informed Local 1107 that
                                                 she would not RTW.

                                                 Unemployment Benefits
                                                 •1/22/18, applied for unemployment benefits.
                                                 •2/12/18, denied unemployment benefits
                                                 because she voluntarily quit without good
                                                 ~·
                                                 •3/20/18, hearing on unemployment insurance
                                                 appeal.
                                                 •4/11/18, appeal denied re UE benefits.

                                                 EEOC Charge of Discrimination
                                                 •317/18, Ms. Miller filed a discrimination
                                                 charge with EEOC based on disability .




                                                                                  Bennett - 006
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II.      Vocational History

         A.     Pre-Termination

               It should be noted that plaintiff was 40 years old as of 4/23/09 when she was hired by the
               SEIU, and yet no information is provided relative to her work history prior to that date.

               •   Dates:                      •4/23/09 -117/18 (8 years 10 month) . (Attorney Work
                                               Product/Timeline of Claims & Mitigation; 1013/19 P 's
                                               Linkedln Profile)
                                               •2009 to 2018 (>3118 P 's Resume)
                   Employer:                   SEIU (Service Employees International Union, Local
                                               1107) (> 3118 P 's Resume; I 0/3119 P 's Linkedln Profile)
                   Address:                    Las Vegas, NV (>3118 P's Resume; 1013119 P's
                                               Linkedln Profile)
                   Job title:                  Lead Organizer (>3118 P's Resume; 1013119 P's
                                               Linkedln Profile)
                   Job duties:                 Enforced collective bargaining agreements for staff at
                                               3 major healthcare companies in Las Vegas, as well as
                                               for all Clark County employees, and empowered them to
                                               understand their rights. Handled every aspect of the
                                               grievance process including representation, conflict
                                               resolution, arbitration, and settlements. Also tracked
                                               grievances to ensure adherence to timelines. Ensured that
                                               all employees were afforded due process. Trained staff
                                               and Union members on disciplinary actions, policy
                                               changes, and state and federal regulations. Ma intained
                                               files and kept them confidential. Brought an education
                                               fund to St. Rose/Dignity Health and fought to retain it
                                               through ongoing bargaining process. Collaborated with
                                               employees, directors, and HR. Planned and facilitated
                                               meetings. SEIU Acting Political Coordinator during
                                               2016 primary and general election. Trained members to
                                               canvass and phone bank for endorsed candidates.
                                               Conducted new employee orientations for St. Rose/
                                               Dignity Health. Trained personnel to handle grievances
                                               and to understand the 7 steps ofjust cause. Implemented
                                               collective bargaining agreements and build a productive
                                               working relationship between Union membership and
                                               their respective organizations. (> 3/18 P 's Resume;
                                               1013119 P's Linkedln Profile)
                   Supervisor:                 No information provided.




                                                                                           Bennett - 007
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                 Full-time/part-time:       No in fo rmation provided.
                 OT:                        No information provided.
                 Earnings:                  •2017, $67,564.41. (201 7 W-2/NSEU)
                                            •2018, $11,945.36. (2 018 W-2/NSEU)
                 Performance:               No information provided.
                 Benefits:                  No information provided.
                 Reason for leaving:        Voluntarily quit.

                 Difficulties in Work Prior to Termination:

                 Per Plaintiff's Attorney-
                     On 9113117, after a rally at Rancho High School that was part of the Trustees'
                    new program, ... Ms. Miller collapsed in the parking lot at work while getting
                    out of her car due to her inability to keep her blood sugar levels in check.
                     She had severe burning and stabbing pains in her legs after the fall.
                    On 9/19/ 17, she saw her PCP Dr. Venkat, who treats her diabetes.
                    He recommended she see orthopedist/Or. Liu, when she returned from a pre-
                    scheduled trip to see her parents. On 9/25/17, while in Canada visiting her
                    parents, she collapsed a second time at a restaurant due to her blood sugar
                    fluctuating to dangerous levels. At her appointment with Dr. Liu, he took hip
                    x-rays and recommended she take 2 weeks offwork. (412 7118 Letter ReAppeal
                    of Ul Decision by P 's Attorneys)


       B.     Post-Termination

                 Dates:                     1/7/18 to - 1/15/18 (from date quit work at SEIU to date
                                            hired by Teletech)
                 Period of UE:              1 week


             •   Dates:                     -1/15/18 (9/ 13119 P 's Resp to Rog 5)
                 Employer:                  Teletech (TTEC) Healtbcare Solutions Inc. (2112119
                                            Interview Notes/Nevada I U Ofc.)
                 Address:                   9197 S. Peoria St., Englewood, CO 80112 (2018
                                            W-2/ TTEC Healthcare Solutions Inc.)
                 Job title :                Customer Service and/or Medical Records Clerk.
                 Job duties:                No information provided.
                 Supervisor:                No information provided.
                 Full-time/part-time:       No information provided.
                 OT:                        No information provided.
                 Earnings:                  •$486.46 (20 18 W-2/Teletech)




                                                                                     Bennett - 008
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                                           •<$200 (Attorney Work Product/Time line of Claims &
                                           Mitigation)
                  Performance:             N/A
                  Benefits:                No information provided.
                  Reason for leaving:      • Per plaintiffs attorney: Never actually worked for this
                                           company. She was promised a customer service position
                                           and told it would not be in medical records. When she
                                           showed up for training, she found out the position was in
                                           medical records which she was not familiar with, and
                                           expressly told them she did not know how or wish to do.
                                           She ended the training and per plaintiff, received a
                                           check for under $200 for her time in the training
                                           program. (Attorney Work Product/Timeline ofClaims &
                                           Mitigation)
                                           •In early 2018, plaintiff accepted a Customer Service
                                           position that was not medical records with TTec
                                           Healthcare Solutions Inc. However, after attending
                                           training sessions, Tiec informed plaintiff she would be
                                           working in the medical records division nonetheless,
                                           which plaintiff expressly stated was not an acceptable
                                           position and refused to take the different position
                                           from what she was promised. (9113119 P 's Resp to Rog
                                           4)
                                           •:-1115118, accepted a Customer Service position with
                                           TTec Healthcare Solutions. Upon completing training,
                                           employer informed plaintiff she would not be given the
                                           Customer Service position promised and would have to
                                           accept a position in medical records if she wished to be
                                           employed. The position was not acceptable, and
                                           plaintiff rejected employment with TTec in the
                                           different position than she was initially promised.
                                           She never actually began working for TTec in any
                                           formal position. (9/ 13119 P 's Resp to Rog 5)


                 Dates:                    -1/15/18 to 3/19/18 (from date quit work at Teletech to
                                           date hired by Healthcare Partners/DaVita)
                 Period of UE:             -2 months




                                                                                     Bennett - 009
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              •   Dates:                  3/19/18 to Present (1 year 8 months) (>3118 P's
                                          Resume; Attorney Work Product!Jimeline of Claims &
                                          Mitigation; ~ 919119 P 's Resp to Rags #-1 & 5)
                  Employer:               Health care Partners/DaVita Med. Grp. (> 3/ 18 P 's
                                          Resume; Attorney Work Product/Timeline of Claims &
                                          Mitigation; 10/3119 P 's Linked/n Profile)
                  Nature of business:     Network of more than 3 10 primary care physicians and
                                          more than 1, 70 specialists committed to delivering the
                                          highest quality of care to all of our patients. Our
                                          Coordinated Care Model provides patient centered
                                          comprehensive primary care, specialty care, and urgent
                                          care services. Found in 1996, Health Care Partners has
                                          medical clinics and specialty care affiliates throughout
                                          Pahrump, Las Vegas, North Las Vegas, Henderson,
                                          Mesquite, and Boulder City. (Da Vita Med. Grp.
                                          Website)
                  Address:                Las Vegas, NV (>3118 P's Resume)
                  Job title :             Patient Services Representative (> 3118 P 's Resume;
                                          Allorney Work Product/ Timeline of Claims &
                                          Mitigation; 9/ 13/ 19 P 's Resp to Rog 5; 1013/ 19 P 's
                                          Linkedin Profile)
                  Job duties:             •Scheduling for 30+ providers. Patient registration via
                                          Trinity/1ntergy system. Handle all incoming emergency
                                          calls. Handle average of 90 calls/day. (> 3118 P 's
                                          Resume; 1013119 P 's Linkedln Profile)
                                          •Her duties are answering all incoming calls,
                                          scheduling appointments, direct emergency calls to
                                          providers, and work with personnel at all clinics for
                                          patient care related matters. (9113119 P 's Resp to
                                          Rog5)
                                          Essential Functions: Responsible for quality and
                                          continuous improvement within job scope. Responsible
                                          for all actions/responsibilities as described in company-
                                          controHed documents for the position. Contribute to and
                                          support the corporation's quality initiative by planning,
                                          communicating, and encouraging team and individual
                                          contributions towards the corporation's quality
                                          improvement efforts. Greet telephone callers in
                                          friendly manner and direct calls to persons or
                                          departments they are seeking. Obtain information
                                          from callers as needed for taking proper messages
                                          and fonvarding messages to proper personnel or




                                                                                     Bennett - 010
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                                             department. Assist in updating inter-company
                                             telephone lists. Assist in training employees in proper
                                             use of phone system. Schedule patient appointments
                                             according to provider template via phone. Convey
                                             telephone messages electronically. Escalate potential
                                             emergency situations to the appropriate level.
                                             Perform other job duties as assigned. (DaVita Med.
                                             Grp. Website)
                   Supervisor:               No information provided.
                   Full-time/part-time:      No information provided.
                   OT:                       No information provided.
                   Earnings:                 •Hired at $14.00/hour; increased to $15.21/hour plus a
                                             COLA raise of$0.23/hour in 2019. (9/ 13/ 19 P 's Resp
                                             to Rog 5)
                                             •12/22/18 YTD. $23,257.01. (12/ 28/18 Paycheck/
                                             DaVila)
                                             •7/6/19 YTD (most recent provided), $17,554.32.
                                             (7112119 Paycheck/DaVita)
                   Performance:              No information provided.
                   Benefits:                 •Medica l & vision (pre-tax); dental; holiday pay;
                                             spouse & voluntary life ins. (FR4, DaVila Pay Stubs)
                                             •Benefits include healthcare, dental, and vision for
                                             family of4. (9113119 P's Resp to Rog 5)
                                             •Health care, dental, vision, 401(k), paid time off.
                                             (Da Vita Me d. Grp. Website)
                   Reason for leaving:       N/A; continues to work based on latest information
                                             provided.(..,.. 9113119 P's Resp to Rog #4)


III.   Earnings History/Potential

       A.     Pre-Termination Historical Demonstration

              1.      Based on Objective Earnings Records CW-2' s)

                      •2017, $67,564.41. (201 7 W-2/NSEU)
                      •201 8 (through 1/1 2/ 18], $11,945.36. (2018 W-2/NSEU)

       B.     Pre-Termination Potential




                                                                                      Bennett - 011
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              1.     Per Government Statistics

                     a)     Bureau of Labor Statistics, Career Info OneStop, for Nevada, 2018

                            (I)     SOC Code:      13-1075
                                    Job Title:     Labor Relations Specialist

                                    Median                             $72,530
                                    High (significant experience)     $103,300

                            (2)    SOC Code:       13-1071
                                   Job Title:      Human Resource Specialist

                                   Median                              $56,630
                                   High (significant experience)       $83,530

                    b)      Bureau of Labor Statistics, Career Info OneStop, for Las Vegas/
                            Henderson, NV, 2018

                            (I)    SOC Code:       13-1075
                                   Job Title:      Labor Relations Specialist

                                   Median                              $74,040
                                   High (significant experience)       $93,450

                            (2)    SOC Code:       13-1071
                                   Job Title:      Human Resource Specialist

                                   Median                              $56,480
                                   High (significant experience)       $83,960

      C.     Post-Termination Demonstration

             I.     Based on Objective Earnings Records (Pay Stubs)

                    •12/22/1 8 YTD (hire date 3/1911 8), $23,257.01 . (12128/18 Paycheck/ DaVita)
                    •7/6/1 9 YTD (most recent provided), $17,554.32.* (7112119 Paycheck/DaVita)

                     *Imputed annual earnings $35,108.64. [Math:$17,554.32 + 6 months=
                      $2,925.72/ month xl2 = $35,108.64/year.




                                                                                    Bennett - 012
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              2.     As Compared to Her Peers

                     a)     Bureau of Labor Statistics, Career Info OneStop, for Nevada. 2018

                            (I )    SOC Code:        43-4051
                                    Job Title:       Patient Services Representative/
                                                     Customer Service Representative

                                    Median          $32,050

                            (2)     SOC Code:        43-4171
                                    Job Title:       Receptionist & Information Clerk

                                    Median          $28,030

             Counselor Comment:

             At her current job with DaVita, plaintiff is earning tJ.. substantially less than she
             would be if she were working within her skill base as a tJ.. Labor Relations
             Specialist, but is earning tJ.. more than her tJ.. Customer Service Representative
             and/or tJ.. Receptionist counterparts when considering median wages in Nevada.

             It is this counselor's view that plaintiff's mitigation earnings are tJ..Iess than what
             could be expected if she had made a reasonable and diligent job search effort
             utilizing her substantial skill base as a Labor Relations Specialist.

IV.   Analysis of Duty to Mitigate Damages

      A.     Relevant Timeline

             Last date worked prior to DOT :     - 9/28/17 (9/28117 Physician RTW Form!Dr. Liu)
             Date of voluntary resignation        1/7/1 8
             Date oftermination (DOT)             l/8/1 8 (8112119 P 's Economist)
             Time elapsed since DOT              1.7 years
             Date commenced job search           1111117 (...,.. 2 months prior to termination)
             Job search period                   11/1/17 to 9/13/19 (1.83 years, 22.4 months,
                                                 97 weeks, or 485 work days)
             I 51 date employed post-DOT         3/19/18 (with DaVita Medical!Healthcare Partners,
                                                 where she remains working to date)
             Time to locate employment           4.5 months
             Period of UE post-DOl               2.35 months




                                                                                       Bennett - 013
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              Most recent job search contact :      5/27/19 (9113119 P 's Resp to Rags Ex. A)
              # contacts made                       42 (including 40 contacts listed by plaintiff in her
                                                    9/ I3119 Response to Interrogatories plus apparent
                                                    applications to Teletech & Da Vita, both of which
                                                    offered her jobs)
              Intensity of job search               Considering 11 1111 7 to 9/13119, ..,.22.95/year;
                                                    ..,.1.88/month; .... 0.43/week; .... 0.08/day.
              Emphasis of job search                Labor relations .... x3; HR x30 ; other/clerical etc.
                                                    x7.

      B.      Job Search Details

              1.      Per Contemporaneous Job Search Records

                     Per the list of alleged job contacts provided by plaintiff in her 9/ 13/ 19 Response
                     to Interrogatories Exhibit A, she applied for ...,. 40 positions including ...,. 3 labor
                     relations positions, 30 HR positions, and 7 other/clerical type positions.

                     It is noted that no records confirming the aforementioned activity, such as
                     letters or emails acknowledging receipt or rejection, have been provided.

             2.      Per Plaintiff

                     a)       9/13/19 Plaintiff's Response to First Request for Interrogatories

                              1.        Have you sought employment since termination from SEIU Local
                                        1107? lfso, identify all sourcesofinformation (e.g., newspapers.
                                        radio, TV, websites, employment agencies, etc.) utilized in job
                                        search: I used the ..,.internet, ..,.companywebsites, and ..,.in·
                                        person.

                             2.         Ifyour answer to #1 is in the affirmative, identify all sources of
                                        information utilized in job search: Used .... ZipRecruiter.com
                                        and ...,. Indeed.com.

                             3.         Identify all individuals/entities with whom you applied since
                                        separation of employment: Provided Exhibit A listing all jobs
                                        applied for and resources utilized, as follows:

                                        •   20 I 8-20 I 9 Jobs Appl ied for Via ZipRecruiter .com (xl9)




                                                                                            Bennett - 014
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                                       --11/1/17, Administrative Assistant, Allegiant Travel Co.,
                                         Las Vegas, NV.
                                       --11 /7117, HRAssistant, Communication Electronic Systems
                                         LLC, Las Vegas, NV.
                                      --11 /8/17, HR Assistant, Visionary Technology Consultants,
                                         Las Vegas, NV.
                                      --12/1 4/ 17, HR Assistant, 5 1h Ave. Restaurant Group, Las
                                         Vegas, NY.
                                      --12/2 1117, V.P. ofHR, Precision Opinion, Las Vegas, NV.
                                      --1 /2/18, HR Assistant, Progistics Distribution, Henderson,
                                         NV.
                                      --1 /9/18, Office/HR Manager, CG&B Enterprises Inc.,
                                         Henderson, NV.
                                      --2/2/18, HR Generalist, Aeva Pharmacy, Las Vegas, NV.
                                      --2/8/18, HR Generalist, Cardenas Markets LLC, Las Vegas,
                                         NY.
                                      --211 3/18, HR Assistant, Cure4TheKids, Las Vegas, NV.
                                      --2/20/ 18, Recruiter, TELUS International Inc., Las Vegas,
                                         NV.
                                      --2/22/ 18, Recruiting Assistant, Mojo Tech LLC, Las Vegas,
                                         NY.
                                      --2/22/18, HR Generalist (Evening Shift), Panasonic Energy,
                                         Las Vegas. NV.
                                      --2/22/18, Front Office Dental Assistant for private practice
                                         in NW Las Vegas, via Advanced Dental.
                                      --2/27/18 HR Generalist for Western Region Care Center,
                                         through FirstService Residential, Las Vegas, NV.
                                      --3/9/18, Talent Acquisition Recruiter, Alarica, Las Vegas,
                                         NY.
                                      --4/6/18, HR Clerk/Receptionist/Staffing Coordinator,
                                         Express Employment Professionals, Henderson, NY.
                                      --5/27/19, HR Business Partner/Labor Relations, HBL
                                         Executive Search, Las Vegas, NV.

                                      2018-2019 Jobs Applied for Via lndeed.com      (x2~


                                      No dates are provided for the following applications,
                                      although there is mention that she responded to an ad for a
                                      hiring event that was to take place on 1/23/18.

                                      --HR Manager, Karma & Luck. Las Vegas, NV.




                                                                                     Bennett - 015
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                                        --HR Resources Generalist (Fulltime), Thermo Service
                                          Corp.), Las Vegas, NV.
                                        --HR Coordinator, Desert Trade Graphics Inc., Las Vegas,
                                          NV.
                                        --Employee Relations Specialist, ASNY, Las Vegas, NV.
                                        --Employee Relations Specialist, Leeds Professional
                                          Resources, Las Vegas, NV.
                                        --Recruiter, Brightstar Care, Las Vegas, NV.
                                        --Service Dispatcher, DIT, Las Vegas, NV.
                                       --PBX Operator/Dispatch, Golden Entertainment, Las Vegas,
                                          NV.
                                       --Receptionist, Southern Nevada Pain Center, Las Vegas,
                                          NV.
                                       --Director of Contract Compliance--Corporate, Insights
                                          Training Group LLC, U.S.
                                       --HR Coordinator, Get Fresh, Las Vegas, NV.
                                       --HRAssistant Manager, Green Valley Grocery, Las Vegas,
                                          NV.
                                       --HR Assistant, Giving Home Health Care, Las Vegas, NV.
                                       --Customer Service Representative, Greco Companies, Las
                                          Vegas, NV.
                                       --HR Specialist, Uplifting Behavioral Health, Las Vegas,
                                          NV.
                                       --Switchboard Operator, Las Vegas Pain Institute & Medical
                                          Center, Las Vegas, NV.
                                       --Sales & Staffing Opportunity, Nannies & Housekeepers
                                          USA, Las Vegas, NV.
                                       --Lead Service Specialist, Nevada State Board of
                                          Cosmetology, Las Vegas, NV.
                                       --HR Specialist/Coordinator, Proventure Staffing LLC,
                                          Las Vegas, NV.
                                       --HR!Administrative Support, GCW Inc. , Las Vegas, NV.
                                       --Hiring Event- Elara HGV, 1123/18 10 am to 3 pm, Hilton
                                          Grand Vacations, Las Vegas, NV.

      C.     Analysis of Job Search

             l.     Time of initiation of job search

                    ~ 11/1/17 (~2   months prior to termination) per contemporaneous job search
                    records as provided.




                                                                                   Bennett - 016
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                     Counselor Comment:

                     Plaintiff began her job search ..,.. 2 months prior to termination, which appears
                     to indicate she had no intention of returning to her job after having been
                     placed on disability effective 9/28/17.

              2.     Types of positions applied for

                     ..,.. 3 labor relations positions, ..,.. 30 HR positions. and ..,.. 7 other/clerical
                          type positions.

                     Counselor Comment:

                     Plaintiff undertook limited effort to seek work similar to the job she held at
                     time of discharge, applying to only .... 3 jobs related to her skill base
                     learned over the course and scope of her 9 years of employment with SEIU,
                     notwithstanding the .... large number of unions in the Las Vegas area to
                     which she ...,.. could have applied (see Exhibits B & C to this report).

              3.     Types of contacts

                     Of the various job search methods available to interested job seekers. plaintiff
                     has allegedly utilized the following (although no contemporaneous records
                     confirming same, such as letters or emails acknowledging receipt or rejection,
                     have been provided):

                     a)     Direct application to employers (i.e., typically by sending resumes or
                            contacting prospective employers without being referred by others).

                            This has been found to be one of the most effective ways of obtaining
                            employment, with an effectiveness rate of 47.7% per EDD.

                            Counselor Comment:

                            Plaintiff has allegedly made ..,.. 42 direct applications to employers
                            (including 40 contacts listed by plaintiff in her 9/ 13/ 19 Response to
                            Interrogatories Exhibit A plus apparent applications to Teletech &
                            DaVita, both of which offered her jobs).




                                                                                         Bennett - 017
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                     b)     Newspaper ads

                            Most individuals turn to newspaper ads as a direct application of their
                            quest for work. Most large metropolitan newspapers are now on the
                            Internet, and one can seek vocational prospects based on category and
                            job title. In addition there are Internet search engines that will search a
                            multitude of newspapers, providing category and/or title. It is noted that
                            the utilization of want ads in newspapers ranks second or third in
                            effectiveness among job search methods available to individuals seeking
                            work (Allen, 1972; Azevedo, 1974; Battelle Memorial Institute, 1971;
                            Bradshaw, 1973; Loomba, 1967; U.S. Dept. of Labor, 1975).

                            Counselor Comment:

                            Plaintiff has apparently made no use of newspaper ads.

                     c)     Personal contacts (i.e., contacts through professional colleagues, friends
                            or relatives).

                            This is the third most utilized job search method. Furthermore, it has
                            been found that personal contacts typically rank from first to third place
                            as the most effective means by which individuals obtain their positions
                            (Allen, 1972; Azevedo, 1974; Dyer, 1972; Horowitz, 1968; Kaufman,
                            1980; Loomba, 1967; U.S. Dept. of Labor, 1975; Thompson, 1972).

                            Counselor Comment:

                            Plaintiff has apparently made no personal contacts.

                     d)     Private employment agencies

                            Private employment agencies have long been available as a formal
                            method of job placement. These have been found to be the fourth most
                            utilized job search method. Private employment agencies are more
                            effective and efficient in placing professionals in their own fields rather
                            than outside of them. They have been found to be a second to direct
                            application in terms of re-employment effectiveness.

                            Counselor Comment:

                            Plaintiff has apparently made no use of private employment agencies.




                                                                                        Bennett - 018
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                     e)     State or federal employment services

                            California has an employment development department that aids
                            interested job seekers by havingjob listings accessible via the phone, via
                            flyers and job bulletins, and via the Internet.

                            In regards to federal resources, there are 1,800 federal personnel offices
                            scattered through the U.S.

                            Counselor Comment:

                            Plaintiff has apparently made no use of state or federal employment
                            services.

                     f)     Professional Societies and Journals

                            Professional societies provide job search assistance to their members.
                            Such assistance is typically available to professional meetings where
                            employers can interview prospective candidates or through professional
                            society publications which list positions open as well for job seekers.

                            Counselor Comment:

                            Plaintiff has apparently made no use of professional societies or
                            journals.

                            Per this counselor's research, there are a number of societies that
                            provide job listings in plaintifrs area of expertise, including the
                            following:

                            --LERA (Labor & Employment Relations Association), which
                              provides a job board listing opportunities, although there are !!Q
                              current openings in plaintifrs geographic area.

                            --National Public Employees Labor Relations, which also provides a
                              job board, although there are no current openings in plaintifrs
                              geographic area.

                    g)      Outplacement Services of Previous Employer

                            Many employers provide outplacement assistance to individuals who ask
                            for same when they are terminated.




                                                                                        Bennett - 019
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                             Counselor Comment:

                             N/A.

                     h)      Utilization of Internet Job Search Resources

                             Above and beyond newspapers, as previously discussed, there are
                             various internet employment search engines that one can utilize to find
                             current job openings, with many geared towards specific categories of
                             employment, i.e., business, finance, or government.

                             Counselor Comment:

                             Plaintiff made use of only   ~2   online resources ( ~ ZipRecruiter and
                             ~Indeed.


                             It should be pointed out that per a 2016 Glass Door study, job seekers on
                             average use 7.6 different job websites during job search.

                     i)      School Placement Offices

                             School placement offices provide placement for graduates as alumni.

                             Counselor Comment:

                             Plaintiff has apparently made no use of school placement offices.

              4.     Intensity of job search

                     Per a 1973 study by Dyer, it is found that those who contact more employers each
                     week experience a shorter period of joblessness. Similarly, those who carry out
                     more intense job search, as indicated by the number of resumes sent out or the
                     number of interviews one had, experienced a shorter period of unemployment
                     (Conner 1973).

                     There is a positive correlation between the intensity ofjob search and the number
                     of weeks out of work among professionals who became unemployed or
                     underemployed. (Kaufman, H.G, Professionals in Search ofWork)

                     Based on information provided by plaintiff, from 11/1/17 (date of first job search
                     contact, 2 months prior to termination) to 9/13/19 (date of last information




                                                                                       Bennett - 020
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                      provided relative to job search efforts), plaintiff apparently made a total of
                      ..,.. 42 contacts which equates to the following:

                     Total contacts per year                            22.95
                     Total contacts per month                           1.88
                     Total contacts per week                            0.43
                     Total contacts per work day                        0.08

                      Counselor Comment:

                     Even if one were to take plaintiff at her word, without the benefit of objective job
                     search documentation, in this counselor's view her effort with regard to
                     monthly, weekly and daily contacts is .,... insignificant and would ..,.. not result
                     in employment prospects based upon this counselor's experience as well as
                     review of the literature in regard to HR principles in terms of job seeking.

                     Furthermore, based on efforts to date, plaintiff could not have expected to obtain
                     a single interview, for submission of up to 100 resumes is generally required in
                     order to obtain l-2 interviews.

                     Nonetheless, she has secured employment, although it is not within the skill
                     base learned throughout her 9 years of employment with SEIU.

V.    Present Vocational Potential, Occupational Receptivity and Earnings Capacity

      A.      Vocational Potential

              In this counselor's view, plaintiff has same or similar vocational potential post-
              termination as that which she had pre-termination, if she can overcome the difficulties
              with her metabolic disorder and/or orthopedic issues which had caused a period of
              disability from a pre-incident standpoint.

              It should be noted that nothing reviewed by this counselor indicates that plaintiff has
              requested accommodations post-termination same or similar to those that she
              requested from a pre-termination standpoint.

             Nonetheless, it is this counselor's view that plaintiff's .... accommodations as requested
             from a ..,.. pre-termination standpoint were within her ability to ..,.. self-accommodate,
             i.e., to ..,.. eat when necessary and ..,.. exercise on her own in an effort to control blood
             sugar levels; and the ..,.. same is true from a .,... post-termination standpoint.

      B.      Occupational Receptivity




                                                                                          Bennett - 021
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              1.     Based on Government Statistics

                     a)     Employment Projections 2016-2020 for Nevada

                            (I)    SOC Code:      13-1075
                                   Job Title:     Labor Relations Specialist

                                   Employment estimates 20 I 6               660
                                   Projected employment 2020                 620
                                   Percent change                           -6%
                                   Projected annual openings                   60

                     b)     Employment Projections 2016 - 2026 for Nevada

                            (1)    SOC Code:      13-1071
                                   Job Title:     Human Resource Specialist

                                   Employment estimates 2016               3,420
                                   Projected employment 2026               3,800
                                   Percent change                           11%
                                   Projected annual openings                 380

             2.     Based on Current Openines Per This Counselor's Research

                    a)      9/28/19 Labor Relations openings in Las Vegas/Henderson, NV

                           --NLX, ..,. 2 openings.
                           --America's Job Exchange, ..,. 2 openines.
                           --CareerBuilder, ..,.112 openings (mostly HR positions).
                           --Indeed, ..,.8 openings (mostly HR positions).
                           --Linkedln, ..,.252 openings (25 new).
                           --ZipRecruiter, ..,.23 openings (mostly HR positions).
                           --Simply Hired, ..,.28 openings (mostly HR positions).

                    b)     I 0/3/ 19 Human Resource Specialist openinQ.s in Zip Code 89123
                           (Las Vegas)

                           --NLX, ..,.41 openings.
                           --America's Job Exchange, ..,.2 openings.
                           --CareerBuilder. ..,.129 openings.
                           --Indeed, ..,.44 openings.




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                             --Linkedln, .,.63 openings.
                             --ZipRecruiter, ..,.1,552 openings.
                             --Simply Hired, .,.15 openings.

              3.     Based on Labor Unions in Nevada

                     a)      State of Nevada

                             (1)      XPDNC.com provides website links to approximately
                                      .,.86 unions in Nevada (see attached Exhibit B).

                     b)      Las Vegas/Henderson, NV

                             (I )     Per Vegas Inc. Staff, as published in the Las Vegas Sun on
                                      1129/18, there were .,.40 labor unions in the Las Vegas/
                                      Henderson, Nevada area (listed in attached Exhibit C). The
                                      information is based on the unions' filings with the Nevada Dept.
                                      of Labor as well as Vegas Inc. research.

                     Counselor Comment:

                     Per this counselor's review of plaintiffs mitigation efforts, it is noted that she
                     .,.. did not apply to any of the .,.. 40 labor unions in the Las Vegas/ Henderson
                     area nor to any of the .,.86 unions in the state of Nevada .

                     It should be pointed out that these unions represent a large number of workers.

                     For example:

                     --Per the Vegas Union Hotel Guide, there are .,.41 casinos, casino resorts,
                       hotels, restaurants, bars, or other businesses in Las Vegas where
                       .,.. Bartenders Union Members are employed.

                     --In addition, the .,.. International Union, United Automobile, Aerospace and
                       Agricultural Implement Workers of America, better known as the.,.. United
                        Automobile Workers (UAW). represents casino workers in Las Vegas
                        including table game dealers, dual rate table game dealers, slot technicians, slot
                       attendants, poker dealers, dealer rate poker dealers, poker clerks, keno and
                       simulcast workers, casino hosts, and cage cashiers. Las Vegas casinos
                        represented include Bailey's, Caesar's, Cromwell's, Flamingo, Harrah's, Linq,
                       MGM, Paris, and Wynn.




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                     --Per the Culinary Union 226 Las Vegas website, this is one of the fastest
                       growing private sector local unions, representing more members than any other
                       union in Nevada. Culinary workers are employed at casinos up and down the
                       Las Vegas strip as well as downtown Las Vegas. Culinary worker members
                       also work in food service outlets at McCarran International Airport, Valley
                       Hospital, and industrial laundries throughout the Las Vegas valley as well as
                       casinos in Reno. Examples of job titles the union represents are cocktail
                       waitress, kitchen workers, cooks, housekeepers, porters, etc.

             4.      Based on Unemployment Rates for Las Vegas/Henderson/Paradise, NV (Per
                     Economic Research, Federal Reserve Bank of St. Louis)

                    --1/1 8, 5.3%.
                    --1119. 4.7%.
                    --7119, 4.7%.

             5.     Based on Duration of Unemployment (Seasonally Adjusted, Median Weeks of
                    Unemployment Per Bureau of Labor Statistics)

                    --1 / 18, 9.4 weeks.
                    --1/19, 8.9 weeks.

      C.     Earning Capacity

             1.     Per Government Statistics

                    a)      Bureau of Labor Statistics, Career Info OneStop, for Nevada, 2018

                            (1)      SOC Code:      13-1075
                                     Job Title:     Labor Relations Specialist

                                     Median                              $72,530
                                     High (significant experience)      $103,300

                            (2)      SOC Code:      13-1071
                                     Job Title:     Human Resource Specialist

                                     Median                              $56,630
                                     High (significant experience)       $83,530

                    b)      Bureau of Labor Statistics, Career Info OneStop, for Las Vegas/
                            Henderson, NV, 20 18




                                                                                    Bennett - 024
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                             (I )     SOC Code:       13-1075
                                      Job Title:      Labor Relations Specialist

                                      Median                                $74,040
                                      High (significant experience)         $93,450

                             (2)     SOC Code:        13-1071
                                     Job Title:       Human Resource Specialist

                                     Median                                 $56,480
                                     High (significant experience)          $83,960

VI.   General Opinions and/or Conclusions

      A.      With regard to plaintiffs mitigation effort:

              1.     Plaintiff did not appear to exercise reasonable diligence in attempting to find
                     new work.

             2.      Plaintiff has undertaken limited effort to seek work similar to the job she held at
                     time of discharge. In fact, based on contemporaneous records as provided, she
                     only sought 2 jobs related to her skill base learned over the course and scope of
                     her last employment. In that regard. please see attached Exhibits Band C which
                     list the various unions in or around Las Vegas that plaintiff did not apply to.

             3.      Plaintiffhas produced only a list of alleged job contacts (some ofwhich had no
                     specific dates), with no contemporaneous records included in the form ofemails
                     or letters sent by plaintiff to potential employers inquiring about jobs or
                     submitting her resume.

             4.      Plaintiff has not produced any responses from potential employers such as
                     acknowledgements of receipt or rejection letters/emails.

             5.      Plaintiff appears to have utilized only 2 internet job search engines, ZipRecruiter
                     and Indeed. It should be pointed out that per a 2016 Glass Door study, job
                     seekers on average use 7.6 different job sites during job search.

      B.     With regard to accommodations:




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                 I.     In this counselor's view, it is within plaintiffs ability to self-accommodate
                        with regard to her diabetes, i.e., to eat when necessary and exercise on her
                        own in an effort to control blood sugar levels.

         C.      With regard to post-termination earnings capacity:

                 I.     It is this counselor's view that if plaintiff made a reasonable and diligent job
                        search effort and sought work within her skill base, she would achieve same or
                        similar earnings as that which she was accustomed to from a pre-incident
                        standpoint. (Records indicate that as of 2017, plaintiff earned $67,564.41 ,
                        although her peers had median earnings of $72,530 or high earnings based on
                        significant experience, which plaintiff had, of $1 03,300.)

         D.      With regard to job search timeframe;

                 I.     It is this counselor's view that if plaintiff made a reasonable and diligent job
                        search effort, and was not disabled due to her metabolic disorder and/or
                        orthopedic issues, she could have located new employment within her
                        demonstrated skill base within Jll o- 9.4 weeks post-1/7/18 resignation, or
                        by Jlllo-3/14/18.

VII.     Data and Other Information Considered by Witness in Forming Opinions

         A.     Review of records as provided (listed in attached Exhibit A to this report).
         B.     Review of O*Net, Bureau of Labor Statistics, and Career Info OneStop relative to
                occupational receptivity and earnings.
         C.     Review of Bureau of Labor Statistics relative to unemployment rates for the Las Vegas/
                Henderson/Paradise area.
         D.     Review of job search websites NLX, America's Job Exchange, CareerBuilder. Indeed,
                Linkedln, ZipRecruiter, and Simply Hired for current job openings in plaintiffs
                geographic area.
         E.     Websites for Labor & Employment Relations Assn. and National Public Employees
                Labor Relations relative to professional societies and journals that plaintiff could have
                relied upon for job postings within her area of expertise.
         F.     This counselor's experience in evaluating vocational prospects, promotability, earnings
                capacities, and occupational receptivity for individuals over the last 41 years.

VIII. List of Exhibits Being Used to Support Opinions

         Not applicable, unless otherwise requested by defense counseL

IX.      Qualifications of Witness




                                                                                           Bennett - 026
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         A.      List all publications within the last ten years.

                 See this counselor's curriculum vitae (attached as Exhibit D).

X.       Compensation

         See fee schedule (attached as Exhibit E).

XI.      Expert Testimony, Either in Deposition or in Court, Within the Last Four Years

         Please see attached Exhibit F .




Edward L. Bennett,
Certified Rehabilitation Counselor
Certified Disability Management Specialist
Diplomate, American Board ofVocational Experts

ELB:ck

Attachments:    Exhibit A        List of Records Reviewed
                Exhibit B        List of Labor Unions in Nevada
                Exhibit C        List of Labor Unions in Las Vegas/Henderson, NV.
                Exhibit D        Curriculum Vitae
                Exhibit E        Fee Schedule
                Exhibit F        Listing of Expert Testimony




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                             Exhibit A
                     List of Records Reviewed




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                               RECORD REVIEWS

RE:   Miller, Deborah


1.    8.12.19 Report by Kevin B. Kirkendall. MBA (CRS received 8/30/19)-E
2.    Chronology (CRS received 9/16/19)-E
3.    2017 Taxes (CRS received 9/16/19)-E
4.    Paystubs from DaVita (CRS received 9/16/19)-E
5.    Grievance Form (CRS received 9/16/19)-E
6.    Correspondence re Interactive Process (CRS received 9/16/19)-E
7.    CBA Wage Schedule (CRS received 9/16/19)-E
8.    Appeal of Unemployment Decision (CRS received 9/16/19)-E
9.    DETR Unemployment Case Decision (CRS received 9/16/19)-E
10.   DETR Unemployment Proceedings Transcript 1 (CRS received 9/16/19)-E
11.   Doctors’ Medical Notes & Correspondence re medical notes (CRS received 9/16/19)-
      E
12.   Correspondence re Accommodation (CRS received 9/16/19)-E
13.   DETR Document (CRS received 9/16/19)-E
14.   Local 1107 Statement in Response to Unemployment Office Request (CRS received
      9/16/19)-E
15.   DETR Decision (CRS received 9/16/19)-E
16.   EEOC Discrimination Charge (CRS received 9/16/19)-E
17.   Documents from Together We Rise (CRS received 9/16/19)-E
18.   Resume (CRS received 9/16/19)-E
19.   W2 from Teletech (CRS received 9/16/19)-E
20.   Doctors’ Medical Notes & Correspondence re medical notes 2 (CRS received
      9/16/19)-E
21.   Damages related Documents (CRS received 9/16/19)-E
22.   9.13.19 Plaintiff Debbie Miller’s Responses to the SEIU International Defendants’
      First Requests for Interrogatories (CRS received 9/16/19)-E
23.   Employee Earnings Records (CRS received 9/27/19)-E
24.   W2s and Paystubs (CRS received 9/27/19)-E
25.   __________________________________________________________________
26.   __________________________________________________________________
27.   __________________________________________________________________
28.   __________________________________________________________________
29.   __________________________________________________________________
30.   __________________________________________________________________
31.   __________________________________________________________________
32.   __________________________________________________________________
33.   __________________________________________________________________
34.   __________________________________________________________________
35.   __________________________________________________________________
36.   __________________________________________________________________
37.   __________________________________________________________________
38.   __________________________________________________________________
39.   __________________________________________________________________
40.   __________________________________________________________________
Miller Record Reviews


                                                                              Bennett - 029
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                             Exhibit B
                 List of Labor Unions in Nevada




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      Total Gross Domestic
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      GeoFRE D Map
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       Related Catego ri es
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       Sources
        More Releases from U.S. Bureau of Labor Statist ics

       Releases
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                             Exhibit C
       List of Labor Unions in Las Vegas/Henderson, NV




                                                               Bennett - 039
9/30/2019                                  Case 2:18-cv-00304-RFB-BNW   Document
                                                                    The List.            247-9
                                                                              Labor unions,           Filed
                                                                                            Jan. 28, 201      09/15/21
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            The List: Labor unions, Jan.                                                                       28, 2018
             By VEGAS INC staff (contact)
             Mon, Jan 29, 2018 (2 a.m .)

            100,600
                Unio n                                                         Me mbers    Receipts      Empl.{officer   Administrat i ve/overhead   Benefjts   Total
                                                                                                         disbursements   expenses                    paid       disbursements

                  Carpenters lnd Conference                                    $101,11 1   $·                            $-                          $-         $7,175
             1    212 Carpenters Un1on Way
 https://vegasinc.lasvegassun.com/business/pu blic-record/20 18/jan/29/the-list-labor-unions-jan-28-20 18/                                                                        1/4
9/30/2019                                                               The List: Labor unions , Jan. 28, 2018 - VEGAS INC
                                               Case 2:18-cv-00304-RFB-BNW   Document 247-9 Filed 09/15/21 Page 42 of 84
                  La s Vegas, NV 89119

                  AFL· CIO Leade rship Council                                        61,035        $202,179        $36,724     $67,784      $43,652      $169,979
            2




                                                                                                                                                                              Bennett - 041
                  1891 Whit ney Mesa Drive
                  Henderson, NV 89014


            3     Culinary Union Local 226                                            50, 141       $32,851,183 $326,398        $2,294,230   $2,518,2.43 $31,654, 363
                  1630 S. Commerce St.
                  Las Vegas, NV 89102


            4     Se rv1ce Employee s Local 1 107                                     9, 255        $5,059,194      $124,089    $904 ,310    $610, 387    $5, 111,509
                  2250 S . Rancho Drive, Suite 165
                  las Vegas, NV 89102

                  Food & Commercial Workers Local 711                                 6,793         $4,462,839      $662, 190   $529,002     $ 153, 278   $5,1 95,549
            5     1201 N. Decatur Blvd., Suite 116
                  Las Vegas, NV 89108

                  Teamsters Local 631                                                 5,766         $5,533,744      $562,985    $814,878     $864,074     $5,103,158
            6     700 N. Lamb Blvd.
                  Las Vegas, NV 89110


            7     Carpenters Local 1977                                               4,059         $1,699,069      $45,482     $228,740     -            $1,701,632
                  4245 W. S unset Roa d
                  Las Vegas, NV 89118


            8     Unite Here Loca l 165                                               3,995         $2,757,805      $54 1,992   $349 ,275    $ 189,746    $2,802,501
                  4825 W. Nevso Drive
                  Las Vegas, NV 89126

                  Electrical Workers AFL·CIO Local 357                                3,281         $5,222,145      $344,001    $1,178,614   $706,488     $4,950,652
            9     808 N. Lamb Blvd.
                  Las Vegas, NV 89110

            10    Painters AFL-CIO District Council 15                                2,887         $5,442,422      $917,623    $684,953     $1,034,219 $5,600,845
                  1701 Whitne y Mesa Drive, Suite 105
                  Henderson , NV 89014
                             -
            11    Laborers Local 872                                                  2,450         $6,732,300      $943,358    $147,119     $936,567     $6,733,858
                  2345 Red Rock St.
                  las Vegas, NV 89146

            12    Teamsters Local 14                                                  2,402         $2,580,090      $460,814    $708,560     $317,657     $2,484, 834
                  1250 S. Burnham Ave., Second Floor
                  Las Vega s, NV 89104

             13    National Council of Se curitY. Inspectors                           2,239         $23,805        $·          $3,799       $-           $15,779
                   3584 Casa Corona Ave.
                   North Las Vegas, NV 89031

             14    Letter Carriers AFL-CIO Branch 2502                                 1,887         $690,008       $279, 570   $76,088      $59,594      $621,096
                   2620 E. Sunset Road
                   Las Vegas, NV 89193

             15    Plumbers AFL· CIO Local 525                                         1,676         $4,272,489     $ 505,026   $847,383     $997,296     $4,404,659
                   760 N. Lamb Blvd .
                   Las Vegas, NV 89110


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9/30/2019                                                                The List. Labor unions, Jan. 28, 2018 - VEGAS INC
                                                Case 2:18-cv-00304-RFB-BNW   Document 247-9 Filed 09/15/21 Page 43 of 84
            16    Stage & Picture Operators AFL-CIO Local 720                          1,624          $3,264,091      $373,129    $769,580   $3 59,897   $3,253,310
                  3000 5. Valley View Blvd.
                  Las Vegas, NV 89102




                                                                                                                                                                             Bennett - 042
            17    Government Employees AFGE AFL-CJO Local 1224                         1,3 58         $303,576        $77,863     $9,638     -           $234,331
                  5892 Losee Road, Suites 132-224
                  North Las Vegas, NV 89081


            18    Bricklayers AFL-CIO Local 13                                          1,354         $2,230,272      $477,3 14   $490,353   $270,764    $1 ,841,452
                  3900 W. Quail Ave.
                  Las Vegas, NV 89118


            19    Amencan Postal Wor kers AFL-CIO State Association                     1,225         $39,283         $16,442     $ 10,990   $9          $32,749
                  P.O . Box 19777
                  Las Vegas, NV 89132


            20    Electrical Workers AFL-CIO Local 396                                  1,123         $1,191,005      $470, 131   $187,029   $11 1,070   $1,250,373
                  3520 Boulder Highway
                  Las Vegas, NV 89121


            21    Sheet Metal, Air, Rail And Transportation Workers Local 88            1,081         $2,048,29 1     $333,440    $348,673   $261,787    $1,734,418
                  2560 Marco St.
                  Las Vegas, NV 89115


            22    Plasterers & Cement Masons AFL-CIO Local 797                          996           $1, 165,347      $305,084   $-         $228,734    $1,15 1,613
                  4231 W. Oquendo Road
                  Las Vegas, NV 89118


            23    Machinists AFL-CIO J.g_Qg~ 845                                        916           $330,301         $23,270    -          -           $297,959
                  1057 Whitney Ranch Road, Suite 200
                  Henderson, NV 89014


             24   American Postal Workers AFL-CIO Local 761                             809           $295,673         $113,309   $58,946    $4,370      $242,732
                  2620 E. Sunset Road, Suites D-E
                  Las Vegas, NV 89120


             25    Transit Union AFL- CIO Local 1637                                    782            $642,737        $235,048   $20,645    $64,600     $623,514
                   2350 S. Jones Blvd ., Suites 101-208
                   Las Vegas, NV 89146


             26    Carpenters Local 1780
                   4245 W. Sunset Road
                                                                                        681            $199,843        $36,032    $25,004    -           $158,108

                   Las Vegas, NV 89118


             27    Transport Workers AFL-CIO Local 72 1                                 661            $250,600        $7,895     $23,112    -           $200,216
                   2770 S. Maryland Pa rkway, Suite 51
                   Las Vegas, NV 89109


             28    Musicians AFL-CIO Local 369                                           593           $390,509        $115,069   $96,873    $6 1,859    $372,402
                   3701 W. Vegas Onve
                   Las Vegas, NV 89108


             29    Machinists AFL-CIO Local Lodge SC 711                                 539           $108,925        $18,133    $1,972         -       $56,299
                   P.O. Box 9701
                   Nellis Air Force Base, NV 89191


             30    Auto Workers AFL-CIO Local 3555                                       411           $303,681        $109,155    $3,233        -        $289,447
                   4310 Cameron St.
                   Las Vegas, NV 891 03
 h tlps ://vegas inc .Ia s ve9assu n .com/bus i ne ss/publ ic-record/20 18fjan/29/the-list-Iabo r -u n ions-jan-28-2018/                                               3/4
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              31   Government Employees AFGE AFL-CIO Local 1240                           408            $40,098          $2, 500    $1,169        -           $43,974
                   3470 E. Russell Road, Suite 211




                                                                                                                                                                                          Bennett - 043
                   Las Vegas, NV 89 120


              32   Steelworkers Afl-CIO Local 711                                         400            $34,879          $9,110     $20,697       -           $37,025
                   3271 S. Highland Drive, Suite 708
                   Las Vegas, NV 891 09


              33   Steelworkers AFL-CIO Local 4856
                   4 7 Wat er St.
                                                                                          390            $97,026          $26,890    $49,151       -           $125,284

                   Henderson, NV 89015


              34   Maint ena nce of Way Employees Local 1020                              34 3           $13, 532         $7,317     $5,212        -           $ 12,528
                   510 National St.
                   Henderson, NV 89015


              35   Sheet Metal, Air, Rail And Transportation Workers Local771             285            $135,300         $93,864    $20,657       $1,000      $ 147, 133
                   951 Wagon Train Drive
                   Henderson, NV 89002


              36   Government Employees AFGE AFL-CIO Local l l99 DOD                      221            $ 125,217        $11,759    $8,429        -           $75,820
                   P.O. Box 9742
                   Nell is Air Force Base, NV 89 191


              37   Roofers AFL-CIO Local 162                                               213           $321,062         -          $61,859       $17,205     $227,843
                   4125 Arctic Spring Ave., Suite 5
                   Las Vegas, NV 89 115


              38   Security Police Association of Nevada                                   147           $82,986          $ 17,248   $945          $20 ,157    $89,329
                   P.O. Box 35501
                   Las Vegas, NV 89'133


              39   l nsulators AFL-CJO Local 135                                           135           $671,978         $152,511   $169,804      $ 156,496   $642, 284
                   4316 E. Alexander Road
                   Las Vegas, NV 89 115


              40   Professional Office Personnel Alliance Local 001                        125           $70,728          $8,545     $3,546        -           $69,913
                   2620 S. Maryland Parkway, Suite 340
                   Las Vegas, NV 89109


              Source: The unions' filings with the Department of Labor and VEGAS INC research. It is not the intent of this list to endorse the participants or to imply that the
              listing of a company indicates its quality. Visit vegasinc.com for more. Although every attempt is made to ensure the accuracy and thoroughness of VEGAS INC
              charts, t)tnissions sometimes occur and some businesses do not respond. Please send conections or additions to Jamie Gentner, research associate,
              jamic.gcntncr(ci!J asvcgassun.com. Send mail care of VEGAS INC, 2275 Corporate Circle, Third floor, Henderson, NV 89074.

              Sh are




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                             Exhibit D
                         Curriculum Vitae




                                                               Bennett - 044
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                                            EDWARD L. BENNETT
                                         Coast Rehabilitation Services, Inc.
                                          5290 Overpass Road, Suite 118
                                             Santa Barbara, CA 93111
                                                  (805) 692-1823

                                                   OBJECTIVE

               To provide vocational rehabilitation services and vocational rehabilitation evaluations
                                              within various systems.

                                                 EMPLOYMENT

Coast Rehabilitation Services, Inc. --- June 1977 to Present
       Office in Santa Barbara, California.
       Proprietor/Vocational Rehabilitation Counselor for firm providing the following services in Southern-
       Central-Northern California:

        • Forensic Vocational Evaluations, Life Care Plans, and Household Duties Analysis for: vaccine cases,
          personal injury, medical malpractice, wrongful termination, wrongful death, marital dissolution/spousal
          support, maritime, longshore and harbor workers, railroad, pediatric, elder abuse, TBI/head injuries,
          sexual abuse/molestation/rape, sexual discrimination, or wherever pre- versus post-injury earnings
          capacity is at issue.
        • Development of Life Care Plans for disabled individuals, in areas of TBI/head injury, spinal cord
          injuries, vaccine cases, amputations, LTD, birth/pediatrics, organ injuries, burns, etc.
        • Labor Market Surveys to determine post incident vocational potential and earnings capacities
        • Develop list of questions for experts in regards to evaluations for household duties, loss of earnings, and
          future medical expenses.
        • Assist employers in determining reasonable accommodations under FEHA and/or ADA.
        • Provide services in regards to the interactive process under FEHA and/or ADA.
        • Case Manager assisting the disabled community.
        • Trust advocacy/guardianship for severely disabled pediatric cases.
        • Evaluations for Workers’ Compensation vocational rehabilitation, long-term disability, and longshore
          and harbor worker cases.
        • Social Security representation.
        • Vocational and personal counseling.
        • Vocational rehabilitation plans for selective job placement, on-the-job training, and academic training.
        • In-depth labor market research.
        • Consultations for Americans with Disabilities Act.
        • Consultant, County of Santa Barbara GAIN program.
        • Consultant, U.S. Dept. of Labor.
        • Consultant, disability retirement plans.
        • Consultant, Social Security Administration, Office of Hearings & Appeals.
        • Consultant to U.S. Dept. of Justice, Division of National Vaccine Act, Court of Federal Claims
        • Consultant, State Teachers Retirement System
        • Consultant, Teachers Insurance and Annuity
        • Consultant, Railroad Retirement Board
        • Consultant, Metropolitan Stevedore
        • Consultant, long-term disability carriers.
        • Consultant for States of California, Washington, Florida, Alaska and Hawaii.
        • Disability advocate to aid and assist the disabled community in obtaining rightful benefits.
        • Assessment of physical aspects of jobs (job analysis).
        • Vocational testing, work tolerance evaluation, and job-seeking skills instruction.




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International Rehabilitation Associates, Inc. --- January 1977 to March 1978
        Performed the work of a vocational counselor, providing services to individuals under California Workers’
        Compensation and Long Term Disability systems.


                                                   EDUCATION

Monroe Community College, Rochester, New York
       A.S. Degree, Liberal Arts and History, 1972

University of Northern Colorado, Greeley, Colorado
         B.S. Degree, Vocational Rehabilitation, 1975
         M.A. Degree, Vocational Rehabilitation, 1976

University of Florida, Winterpark, Florida
         Post-graduate certificate: Life Care Planning for Advanced Catastrophic
         Case Management, 4/95
         --Completed 160 clock hours, taught by various medical professionals within their field

Continuing Education/CEU (Detailed on pages 6-17)
        6/10/78 – 10/26/18, 996 CEU's within the fields of Vocational Rehabilitation, Life Care Planning,
        Americans with Disabilities Act, Medicare Set-Aside, Worker's Compensation, Social Security, Longshore
        & Harbor Workers Labor Laws, case management, discrimination cases, etc.


                                                  INTERNSHIPS

• 1974, Wayne County Vocational Services, psychometric testing.
• 1976, Dept. of Rehabilitation; vocational rehabilitation counselor intern serving generalized case load.
• 1976, Rehabilitation Institute of Santa Barbara (aka Memorial Rehabilitation); dual capacity, vocational
  rehabilitation counselor intern and psychological counselor intern serving catastrophically disabled under Chief
  Clinical Psychologist, Ronald Hartley, Ph.D.


                                           CLINICAL EXPERIENCE

• 1976, Rehabilitation Institute of Santa Barbara (aka Memorial Rehabilitation; aka Cottage Hospital
  Rehabilitation). Participated in patient bedside rounds with orthopedists, PM&R's, internists, and psychologists,
  with subsequent participation in Care Plan development for each patient.


                                               CERTIFICATIONS

Insurance Rehabilitation Institute, Certificate, 1977

         Participate in class instruction, obtain a certificate in providing insurance rehabilitation to disabilitants
         under various systems (i.e., LTD, WC).

Certified Rehabilitation Counselor (CRC), Commission on Rehab. Counseling Cert., #11674, 1978

         Persons who are designated as Certified Rehabilitation Counselors (CRC) must demonstrate that they are of
         good moral character, meet acceptable standards of quality of their practice and have requisite educational
         professional background. To become certified, must meet stringent eligibility requirements including:
         advanced education, work experience, and must achieve passing score on CRC examination.




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        Requires: (1) testing for specialized knowledge through national certification exam; (2) education and
        degree from accredited program; and (3) experiential background, to qualify for same.

        Additional requirements are continuing education for certification renewal to ensure skills and knowledge
        are kept current.

        Requires formal professional code of conduct, or ethics model for accountability and compliance with
        ethical compliances.

Vocational Expert, Soc. Sec. Admin., Office of Disability Adjudication and Review, Dept. of Health & Human
Services, 1978

        Requires educational and experiential background and interview with administrative law judge, requires
        vocational expert to provide opinions based upon hypothetical questions in regards to limitations as
        proposed by the judge to determine eligibility for acceptance of disability under the program.

        Under contractual agreements to appear before ALJ and provide testimony regarding employability of
        claimant in accordance with code of federal regulations governing the Social Security Disability and
        Supplemental Security Income programs.

Certified Disability Management Specialist, Commission of Rehabilitation Counseling Certification, #00462,
1984

        CDMS is the only nationally accredited and independent organization that certifies Disability Management
        Specialists, and confirms that one has specialized knowledge to analyze, prevent and mitigate the human
        and economic impact of disability for employers and employees, has demonstrated the professional
        experience, knowledge and educational background to competently deliver disability management services,
        is committed to continuing education and upgraded skill, and adheres to the highest professional ethics,
        including the code of professional conduct developed by CDMS.

        Requires: (1) testing for specialized knowledge through national certification exam; (2) education and
        degree from accredited program; and (3) experiential background, to qualify for same.

        Additional requirements are continuing education for certification renewal to ensure skills and knowledge
        are kept current.

        Requires formal professional code of conduct, or ethics model for accountability and compliance with
        ethical compliances.

Certified Vocational Rehabilitation Counselor, U.S. Dept. of Labor, Division of Federal Government, OWCP
#13-31, 3/85

        Provide vocational rehab case management service to federal employees injured on the job.

Diplomate, American Board of Vocational Experts, #292-85, 1985

        ABVE is a professional credentialing body established as a non-profit organization.

        Certification requires: (1) Master or Doctorate Degree from an accredited institution in human services
        field specializing in vocational rehab, psychology, or vocational counseling; (2) Have specific training
        experience such as assessment, functional capacity measures, psychological testing, measurement job
        analysis, job placement, job surveys, and have experience providing testimony in these areas; (3) Displays
        knowledge and experience within submitted forensic work product; and (4) score on the ABVE exam.




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        Diplomate status requires 7 years of documented experience in the area of assessment of vocational
        capacity and vocational expert opinion and/or demonstrations of distinguished performance or recognition
        as vocational expert.

        Ongoing continuing education is required to maintain certification.

Vocational Expert, U.S. Railroad Retirement Board, 6/86
Out-of-State Provider, Rehabilitation Counselor Certification
        State of Washington, Dept. of Labor, #7645, 2/89
        State of Florida, Dept. of Labor, #XA003536, 6/90
        State of Alaska, Dept. of Labor, #26619, 4/23/92
        State of Colorado, Dept. of Labor & Employment, #1640, 9/590
        State of Nebraska, Workers’ Compensation Court, VRC Cert. #PC-0320
        State of Nebraska, WC Court, Job Placement Specialist Cert. #PJ-0303

Independent Vocational Evaluator, State of California, Dept. of Industrial Relations, 6/90

        Qualified for and continues to participate in a list of qualified rehabilitation representatives who meet the
        requirements of independent vocational evaluator (IVE) pursuant to labor code section 4635(c) utilized
        when a dispute arises regarding assignment of qualified rehab reps under the California Workers
        Compensation system.

Cert. Life Care Planning Expert, Cert. For Life Care Planning for Advanced Catastrophic Care Mgmt, 1995

        This program is offered through the University of Florida, and required participation in 160 clock hours of
        education taught by various professionals within their fields (i.e., orthopedists, neurologists, psychiatrists,
        psychologists, etc.). Topics addressed in the extensive curriculum include professional orientation to life
        care planning, spinal cord injury, adult and pediatric brain injury, adult and pediatric amputations, multiple
        physical and psychological disabilities, standards, case management, ethics, and expert testimony. Post
        completion of the program one is required to sit for a comprehensive examination.

Cert. Life Care Planner (Cert. #0028), Commission on Disability Examination Certification, 4/16/96

        Educational requirements: at least a Bachelor's Degree from an accredited institution; Rehabilitation
        Certificate such as CRC.

        Experience: minimal of 3-5 years of experience.

        Sit for the CLCP exam which requires a minimum of 120 hours of post graduate or post specialty degree
        training in life care planning, within the 120 hours there must be 16 hours training specifically in basic
        orientation, methodology, standards of practice, and life care planning.

        Other requirements: graduation from an accredited training program which includes practicum internship
        which requires development of independent life care plan for review and critique by faculty member.

        Requires a passing score in CLCP certification examination.

        Ongoing continuing education is required to maintain certification.

Fellow, International Academy of Life Care Planners, 11/11/02

        International Academy of Life Care Planners is a special interests section of the International Association
        of Rehabilitation Professionals, a non-profit organization, whose mission is to become preeminent
        associates for shaping the evaluation of life care planning.




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Certification, State of California Dept. of Industrial Relations: Vocational Return-To-Work Counselor
(VRTWC), 8/20/14.

Education, Preparation & Certification: A Life Care Planner must possess appropriate educational requirements
as defined by the professional standards. A Rehabilitation Counselor should possess the requisite Master' Degree
and sufficient education and training to ensure understanding of human anatomy, physiology, pathophysiology,
health care delivery systems, role and functions of various health care professionals; and promote high standards of
professional performance and ethics.

                                           PROFESSIONAL GROUPS

•National Association of Rehabilitation Professionals in the Private Sector -- NARPPS
•Consumer Attorneys Association of Los Angeles (aka California Trial Lawyers Association)
•Los Angeles County Bar Association
•Pacific Disability & Business Technical Assistance Center (ADA Panel)
•International Academy of Life Care Planners
•Employment Law Network (LinkedIn.com)
•Employment Law Corporate Connection (LinkedIn.com)
•National Employment Lawyers Assn.

                                                     AWARDS

1975, received Rehabilitation Services traineeship grant awarded by U.S. Government to pursue Master's Degree in
the field of Vocational Rehabilitation Counseling.


                                  TESTIMONY AS VOCATIONAL EXPERT

•Superior Court (750+ times)
•U.S. Federal District Court (60+ times)
•Arbitrations (70+ times)
•Deposition testimony (950+ times)
•Administrative law hearings regarding Social Security (1,800+ times)
•Informal/formal conferences/California workers’ compensation (100 + times)
•WCAB hearings (50+ times)
•Longshore and harbor workers ALJ hearings (50+ times)
•Disability retirement ALJ hearings (10 times)
•Teacher removal, ALJ hearings (fit for duty) (5 times)
•Railroad retirement, ALJ hearings (20 times)

                          CASE LOAD (NUMBER AND TYPES OF CASES SERVED)

•Vocational rehabilitation cases, ongoing from initial interview to case follow-up (6,500+).
•Forensic cases, both plaintiff and defense referrals (approx. 1,750).

                                    GEOGRAPHIC AREAS OF REFERRALS

•   California, from Southern California (San Diego) through Northern California (Sacramento area), although
    predominantly Los Angeles, San Diego, and Santa Barbara.
•   Out of state: Hawaii, Maine, Massachusetts, Missouri, Nebraska, Nevada, Oregon, Tennessee, Texas.
•   International: Scotland, England, Australia, Marianna Islands, Canada.

                                         References available upon request
                                                                                                 Revised: 10/30/18



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                                          CONTINUING EDUCATION

6/10/78 – 10/26/18, 996 CEU's as follows:

Training as a Vocational Expert, Social Security Administration, Louis Zinn (10 CEU's)           6/10/78

Understanding & Motivation Employees, UCSB Extension (6 CEU’s)                                   7/21/80

Improving Supervisorial Skills, UCSB Extension (6 CEU’s)                                         8/11/80

Center for Continuing Education, Minneapolis, Minnesota (8 CEU’s)                                9/15/83
• Expert Vocational Testimony

OWCP Certification Workshop (16 CEU’s)                                                    2/5/85 – 2/6/85
• Overview of Federal Employee Compensation
• Overview of Longshore Compensation
• OWCP Perspectives on Rehabilitation Process
• Forms Management
• Written Plans & Reports
• Appropriate Costs; Proper Invoicing

Office of Hearings & Appeals training (15 CEU’s)                                          3/1/87 – 3/3/87
• Overview of Forensic Vocational Evaluations in the U.S.
• Transferability of Skills Analysis Under Social Security Criteria
• Review of Medical Impairment of Listings
• Labor Market Surveys Under OHA Guidelines
• The Role of the Rehabilitation Expert in OHA Hearings
• Holding Up to Cross-Examination
• Mock OHA Hearings
• Response to Interrogatories

OWCP Certification Workshop (16 CEU’s)                                                              1987
• Vocational Rehabilitation Process
• OWCP Rehabilitation Forms
• OWCP Rehabilitation Reports
• OWCP Rehabilitation Bills/Billing
• OWCP Contract Requirements
• OWCP Program Requirements

Update on Labor Law, UCSB Extension (6 CEU’s)                                                       1989

Drugs in the Work Place, UCSB Extension (3 CEU’s)                                                   1989

ABVE Annual Conference (14 CEU’s)                                                         3/6/89 – 3/8/89
• Pain Assessment, Treatment and Litigation
• A Multidimensional Model of Behavior on Vocational Evaluation
• Mock Trial, Vocational Case
• Life Care Plan & Loss of Earnings Capacity for the Vocational Expert
• Challenges of Managing an Independent Practice
• Wechsler & Wide Range Test Results in Association w/Field Level Occupational Theory

Health Hazards in the Work Place, UCSB Extension (6 CEU’s)                                        1/9/90

1990 NARPPS National Conference (13 CEU’s)                                               2/28/90 – 3/4/90
• Case Management: The Next Generation
• Establishing Vocational Impairment




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ABVE Conference (14 CEU’s)                                                                    3/25/90 – 3/28/90
• Malpractice Issues and Life Care Planning
• Treatment for Low Back Patients
• Head Injuries & Vocational Expert Issues
• The Vocational Expert in a Social Security Hearing Setting
• Physical Capacities Education, Work Hardening & Its Use by Vocational Experts

SCRE/RNS Conference ( 13 contact hours)                                                       7/26/90 – 7/28/90
• Early Intervention, Working Together                • Maturation & Mobilization
• Latest Treatment Methods: Back Injuries             • Resources Fair
• Complex Joint Injuries: Knees & Shoulders           • Perspectives on Legislative Changes
• Hand & Wrist Injuries in the 1990’s

1990 CARP Convention: Rehab & All That Jazz (10 CEU’s)                                     9/13/90 – 9/15/90
• New Opportunities for Rehab Technology; Dragon Dictate/Speech Recognition Computer Program
• An Inspiration for Rehabilitation/Melendez
• OWCP FECA Workshop
• How to Prevent/Minimize Internal Business Disputes
• Vocational Economic Model for Evaluation of Loss of Earnings Capacity
• Keynote: Richard Bolles
• Medical & Psychological Aspects of Chronic Pain Among Hispanic Injured Workers/Factors That Affect
  Rehabilitation Outcome
• Specialized Services for Workers with Upper Extremity Injuries
• Engineering Technology: A Problem-Solving Method for Selecting Appropriate Adaptive Technology Including
  Manual Wheelchairs
• Stress& Psychological Factors of Law Enforcement Personnel
• How a VRC Can Be Used by Accountants & Economists for Spousal Support Cases

ABVE Annual Conference (12 CEU’s)                                                             3/25/91 – 3/27/91
• Voc. Eval.: Implications for a Vocational Expert
• ADA Impact on Vocational Experts

Vocational Rehabilitation Counselor Training, U.S. Dept. of Labor (16 contact hours)                     4/4/91
• Vocational Rehabilitation Process
• Reports/Reporting by Rehab. Counselors
• Forms Management

SCRE/RNS Conference (7 CEU’s)                                                                 7/13/91 – 7/14/91
• Minor Head Injury Through Return to Work            • How Rehab Legislation Affects You & Your Job
• Functional Assessments--Testing & Evaluations       • SCRE/RNS Conference Exhibitors

St. Jude Center for Rehabilitation, Lectures for Rehab. Professionals (2 contact hours)                 7/24/91
• Value of Diagnostic Imaging in the Brain Injured

CARP 1991 Conference (10 CEU’s)                                                                           1991
• Legislative Panel: WC Reform 1991
• Implications of Americans w/Disability Act
• New Perspective on Job Placement Resources
• Continuous Trauma Disorders (CTD’s) - CTS
• Musculoskeletal Rehab. & Orthopedic Exams: What Does the Physician’s Report Really Mean?
• Conference Exhibitors
• Commitment to Excellence
• Flexible Work Options for the Disabled
• Hiring/Firing/Promoting Personnel Evaluation




                                                          7


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St. Jude Centers for Rehabilitation, A Seminar on Spinal Cord Injury Treatment & Case Management             9/26/91
(7 contact hours)

Rehabilitation Institute, in affiliation with Santa Barbara Chamber of Commerce (7 contact hours)           10/11/91
• Barrier Free: Designing for Accessibility

OWCP Certification Workshops (15 CEU’s)                                                        10/24/91 – 11/05/91

ABVE Conference (14 CEU’s)                                                                          3/23/92 – 3/25/92
• Starting & Managing a Forensic Practice
• The Issue of Pain in Evaluation & Court Testimony
• Client Evaluation Systems & Techniques
• Hand Injury Workshop Clinic
• Head Injury Workshop Clinic

ADA Seminar presented by Pacific Disability in Business Technical Assistance Center                 5/11/92 – 5/12/92
(16 contact hours)
• Vocational Rehabilitation Process
• Forms Management
• Reports & Reporting by Rehabilitation Counselor
• Bills & Billings by Rehabilitation Counselors
• OWCP Contract Requirements
• OWCP Program Requirements

ADA General Session seminar (14 CEU’s)                                                              9/25/92 – 9/26/92
• Head Trauma Assessment
• Treatment & Testimony in Head Trauma Cases

ABVE Conference (14 CEU’s)                                                                           3/8/93 – 3/10/93
• Economic Perspective re Use of Vocational Experts & Their Resources
• Role of Vocational Expert & Resources Utilized
• Preparing Vocational Expert for Courtroom Testimony

NARPPS 1993 National Conference, “Private Rehabilitation: Evolving Into The 21 st Century”          4/22/93 – 4/24/93
(14 contact hours)
• The New Wave of Marketing
• Corporate America Responds to Needs & Rights of the Disabled
• Legislative Impact on Private Rehabilitation
• Prosthetics
• Vocational Evaluation: A Progressive Approach to Assessing Cognitive Abilities
• The Future for the Vocational Witness
• Mock Trial
• Life Care Planning

Vocational Rehabilitation Counselor Training, U.S. Dept. of Labor (16 contact hours)                         8/31/93
• Vocational Rehabilitation Process
• OWCP Rehabilitation Forms
• OWCP Rehabilitation Reports




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The Rehabilitation Training Institute & University of Florida, Life Care Planning for
Catastrophic Case Management (160 total contact hours)                                            1/93 – 5/26/95

Track One                                                    Track Two
PRINCIPLES & METHODOLOGY                                     VOCATIONAL ASSESSMENT
• Life Care Planning                                         • Intro. To Assessment of Rehab Potential
• Step-by-Step Procedures                                    • Validity/Reliability: Decision Styles
• Tenets & Methodologies                                     • Intro. To Vocational Evaluation
• Resources                                                  • Aptitude Tests
• Articles on Case Management                                • Combined assessments
• Marketing                                                  • Personality Tests
• Interview Formats                                          • Neuropsychological Evaluation
• Medical Records – Physician Contact                        • ERGOS Evaluation System
• Working with the Physician                                 • Earnings Capacity Analysis
• Spinal Cord Injuries                                       • Labor Market Surveys
• Equipment Renovations                                      • Job Analysis
• Head Injury                                                • Transferable Skills vs. Worker Traits
• C.P. Multi-Case Examples                                   • Sample Case Analysis
• Other Injuries: Case Examples                              • Ethics
• PVS (Persistent Vegetative State)
• Amputations
• Vocational/Wage Loss Issues
• Legal Matters – Rehab Testimony

Track Three                                                  Track Four
• Consultation Services vs. Expert Services                  ADVANCED CASE MANAGEMENT
• Medical Records Analysis                                   • Intro. To Forensic Rehab. Applications
• Medical Research                                           • Terms, Definitions: Lawyer’s Viewpoint
• Experts                                                    • Roles & Rules of Experts
• Deposition: Review & Summarization                         • Terms, Definitions: Rehab Consultant’s Viewpoint
• Case Management                                            • Mock Trial
• Attendance at Medical Examination
• Demonstrative Evidence as Litigation Technique
• Life Care Plan/Life Care Plan Review
• Vocational Issues
• Outcome-Driven Case Management
• Collateral Source
• Special Needs Trust

Track Five                                                   Track Six
HEAD & SPINAL CORD INJURIES                                  BRAIN DAMAGE – PEDIATRICS
• TBI: Overview, Definitions, Management                     • Medical Aspects, Birth thru Developmental Years
• Acute Care: Early Intervention, Benchmark for Outcomes     • Long-Term Care Issues
• Mechanism of TBI                                           • Life Expectancy
• Biofeedback & Behavioral Aspects                           • Complications
• Neuropharmacology                                          • Seating & Positioning: Wheelchair Systems
• Psychiatric vs. TBI                                        • Intake/Evaluation
• Spinal Cord Injuries: Intro. & Overview                    • Long-Term Care Planning – Rehab Needs
• Transition to Home/Work; LCP Issues                        • Respiratory Care – Home Ventilatory Care
• Managing Long-Term Care & Support                          • Augmentative Communication/Assistive
• Aging with Spinal Cord Injury                                Technology
• Life Expectancy in Spinal Cord Injury                      • Collateral Source Review
• Long-Term Care Issues – Linking Spinal                     • Rehab Testimony: Presentation of the Brain
  Cord Injury to Special Recommendations                       Damaged Infant Case in Deposition &
• Vendor Presentation/Equipment Review                         Trial Setting
• Long-Term Care Issues



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Track Seven                                               Track Eight
MULTIPLE DISABILITIES                                     PROFESSIONAL & OPERATIONAL
• Upper Extremity Impairments (Revasculari-               ISSUES
  zation; Replantation; Microvascular Surgery             • Principles of Establishing LCP & Case
• Carpal Tunnel Syndrome                                    Management Practice
• Life Care Planning: Implications                        • Organizing, Conferencing, Meetings,
• Multiple Disabilities (Multiple Orthopedic Injuries:      Patient Consultations, Depositions & Trials
  Back Injuries; Pain Control; Amputations; Burns)        • Computer Applications
• Abuse Issues in the Work Place for the                  • Insurance
  Rehab Professional                                      • Ethics
• Amputations – Prosthetics Overview
• Life Care Plan Implications – Amputation
• Life Care Planning (Chronic Pain Management;
  Psychological Implications; Misc. incl. Chronic
  Fatigue Immune Deficiency Syndrome & Multiple Sclerosis

Rehabilitation Training Institute, Life Care Planning Refresher Course (6 CEU’s)                          3/16/96
• LCP Checklist & Step-by-Step Procedures                      • Amputation
• Checklist for Comprehensive Medical Records                  • Burns
  and Analysis                                                 • Chronic Pain/Low Back Injury
• Medical-Legal Consulting Checklist                           • Pulmonary Issues
• Medical Terms/Abbreviations                                  • ADA
• Spinal Cord Injury                                           • Vocational Issues
• Brain Injury

Vocational Rehabilitation Counselor Training, U.S. Dept. of Labor (16 CEU’s)                    3/22/96 – 3/24/96
• OWCP Standards, Regulations & Guidelines                   • OWCP Rehabilitation Reports
• Vocational Rehabilitation Process                          • OWCP Ethics
• OWCP Rehabilitation Forms

California Brain Injury Foundation seminar, “Defining Economic Damages in Brain Injury Cases”             11/8/96
• Appropriate Use of Neuropsychologist                      • Direct Exam of Voc. Expert
• Neuropsychological Assessment: What to Look For           • Direct Exam of Economic Expert
• Direct Examination of a Neuropsychologist                 • Use of Life Care Planner in
• Vocational Economic Assessment                              Brain Injury Case
• Vocational Assessment                                     • Evaluating LCP in Brain Injury Cases
• Economic Assessment                                       • Direct Exam of LCP Expert

Vocational Rehabilitation Conference Sponsored by California State Teachers Retirement System    1/9/97 – 1/10/97
(16 CEU’s)
• General Information                                       • Billing/Services Guidelines
• Case Management Guidelines                                • Rehabilitation Law
• Plan Development                                          • Forms

Consumer Attorneys Association of Los Angeles, “Employment Discrimination Cases” (2 CEU’s)                5/97
• Psychologists as Experts in Employment                • Plaintiff’s Deposition in Employment
  Discrimination Cases                                     Discrimination Cases (Plaintiff’s Perspective)
• Employment Discrimination Cases – Economic            • Plaintiff’s Deposition in Employment
  Damages                                                  Discrimination Cases (Defense Perspective)
• Use of Employment Practices Experts in
  Employment Discrimination Cases

Consumer Attorneys Association of Los Angeles, “Experts, Part II; Trial” (2 CEU’s)                          9/97
• The Adjudication of Meaning; Scientific and              • Defense Perspective
  Expert Opinion Testimony                                 • Rebuttal Witnesses
• Plaintiff’s Presentation of Expert                       • Cross-Examination of Defense Expert



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 Longshore Institute, Inc., “Comprehensive Examination of Longshore Act”                     1/28/98 – 1/29/98
• Procedures & Forms                                        • Discrimination
  Injury & Presumptions                                     • Jurisdiction
• Medical Treatment                                         • Notice of Statute Requirements
• Controversion                                             • Wages, Average Weekly Wages & Compensation
• Rehabilitation                                            • Penalties
• Attorneys Fees                                            • Third-Part Claims
• Disability                                                • Special Fund
• Settlements                                               • Death Claims
• Litigation                                                • Occupational Disease

Fourth Annual Life Care Planning Conference, University of Florida (24 CEU’s)                  11/4/99 – 11/6/99
• Life Care Planning for Catastrophic Cases                 • Avoiding Legal Quicksand (Legal Issues)
• How to Produce a Day-in-the-Life Settlement Video         • Cognitive Dysfunction & Remediation
• Trust: What Life Care Planners Need to Know                  Approaches for Individuals w/Dementia
• Role of the Economist in Life Care Planning               • Cutting Edge Approaches to Managing
• State of the Union for Life Care Planners                    Pain & Associated Costs
• PVS: Diagnosis, Prognosis & Cost Ramifications            • New Studies in Spinal Cord Injuries
• Considerations in Development of LCP’s for the            • Daubert: How It Impacts the Expert
  Neonate                                                      Witness – Research Outcomes
• Disease State Management—Rheumatic Disease,               • Patient Compliance
  Fibromyalgia & Arthritis

NARPPS, November/December 1999                                                                             1/00
• Vocational Consultant as an Expert In Divorce Litigation (2 hours)

American Board of Vocational Experts, Fall Conference, Vancouver, B.C. (13 CEU’s)             10/5/00 – 10/8/00
• Mild Head Injury Controversy; Implications               • Minority Issues in Vocational Rehabilitation
  for Practice & Court Testimony                           • PTSD & Vocational Rehabilitation
• Seizure Disorder: Neurology/Vocational Aspects           • Work Motivation
• Psychological Approach to TS Analysis                    • Depression & Anxiety Disorders: Implications
• Returning Chronic Pain Patients to Work                    for Vocational Rehabilitation
• Carpal Tunnel Disorder & Functional Capacity             • Psychological Impairment & Occupational
  Disruption                                                 Disability

Vocational Rehabilitation Counselor Training, U.S. Dept. of Labor (8 CEU’s)                            11/14/00
• OWCP Standards, Regulations & Guidelines                   • OWCP Rehabilitation Reports
• Vocational Rehabilitation Process                          • OWCP Longshore Cases
• OWCP Rehabilitation Forms

International Association of Rehabilitation Professionals, November/December 2000                         12/00
• The Potential For Clinical Bias In Vocational Expert Testimony (2 hours)

American Board of Vocational Experts, Spring 2001 Conference, San Diego, CA (10.25 CEU’s) 3/24/01 - 3/25/01
• Effective Expert Witnessing-Basic & Advanced Strategies • Courtroom Testimony
• Testing Brain Power & Behaviors For Work Capacity       • The Quality of Expert Testimony
• Translate Testing into Vocational Functional Ability    • Gamboa’s Work Life Expectancy Tables
• Employment Law: The Vocational Experts Role             • Interfacing with the Economists

International Association of Rehabilitation Professionals, October/November/December 2003                 10/01
• Status of Women Professionals in Rehabilitation Education (1 hour)

Intelicus/University of Florida, “Advanced Pain Management” (16 CEU’s)                              10/17-18/02
• Nelson Handler, M.D.: Pain Diagnostics/Medication Options/Treatment Options
• Medtronics: Spinal Cord Stimulator Implant & Intrathecal Infusion Device
• New Treatment for Back Pain: Nucleoplasty



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• David Hanks, Ph.D., Pain Psychologist/Psych. Assessment & Treatment: Functional Capacity Evaluation
• Life Care Planning Issues/General Discussion

7th Annual Life Care Planning Conference, Intelicus/University of Florida (16 CEU’s)                    10/19-20/02
• Keynote: Improving the Outcome of Brain Trauma Patients by Jamshid Jhajar, M.D., Ph.D.
• Living with Consequences of Brain Injury: Implications for LCP, by Alan Bergman, Pres./CEO, Brain
   Injury Assn., Inc.
• The Latest in Spinal Cord Injury Research by Barth Green, M.D., Prof./Chairman of Dept. of Neurological
   Surgery, Prof. of Ortho. & Rehab., Univ. of Miami School of Medicine; Chief Neurosurgical Services at
   Jackson Memorial Hospital and Miami Veterans Affairs Medical Centers.
• The Importance of Voc. Rehab. & LCP by Timothy Field, Ph.D., Former Prof. & Coordinator of Rehab.
   Counseling Training Program, Member of Graduate Facility, University of Georgia; President of Elliott &
   Fitzpatrick, Inc.
• Cost Methodology: Streamlining Your LCP by Rebecca Busch.
• Cross-Cultural Issues of Life Care Planners by Michael Hale.
• The Rights of Expert Witnesses: Brushes with Ethical Violations by Mark Rabinoff, Ed.D., Professor of
   Human Performance Sports & Leisure Studies at Metropolitan State Univ. Denver.
• Sexuality Issues for the LCP by Lisa Hannold.
• Hepatitis C: A Case Study by Patricia McCollom and Paula Sundance, M.D.
• Catastrophic Injuries: Functional Outcomes & Inappropriate Physician Recommendations by Terry Winkler,
   PM&R Physician, C.L.C.P., PM&R Private Practice, Springfield, Missouri; Medical Director of Cox Rehab.
   Hospital rehabilitation programs and Springfield Park Care Subacute Rehab Program and Curative Rehab.
   Center; and Robert H. Meier, PM&R Physician, Dir. of Houston Center for Amputee Services & Senior
   Attending Physician for Texas Regional Spinal Cord Injury Services, Chairman/Rehab. Medicine at Univ.
   Colorado Health Svc. Ctr. Former Director of Amputee Ctr. of America; moderator Paul M. Deutsch, Ph.D.,
   C.R.C., C.C.M., C.L.C.P.
• Family-Centered Pediatric Life Care Planning by Priscilla P. Phillips, R.N., C.C.M., C.L.C.P., Program
   Coordinator, Medical-Legal Services; and Nancy J. Bond, M.Ed., C.C.M., C.L.C.P., Associate Director of
   The Coordination Center.

International Association of Rehabilitation Professionals, October/November/December 2002                    11/02
• Rehabilitation Internet Sources (1 hour)
• Psychiatric Rehabilitation in America: A Work In Progress (2 hours)

American Board of Vocational Experts, Spring 2003 Conference, San Diego, CA (14.75 CEU’s) 3/21/03 - 3/23/03
• Testifying Opportunities in WC Litigation—The Road Ahead, by Susan Silberman & Leonard Silberman, Esq.
• Medical Disability Evaluations; Help or Hindrance for Testifying Expert, by Alex Ambroze, M.D., M.Ph.
• Reliability of Life Care Planning, by Penelope Caragonne, Ph.D.
• Railroad Litigation; What’s Unique About the Arena for Voc Experts, by Robt. Meyers, Esq.
• Ethics & the Expert, by Hank Lagerman, ABVE Past President, and Katherine Martin-Miller, Ph.D.
• Practice Mgmt. Techniques in Marital Dissolution by Susan Stevenson
• Practice Mgmt. Techniques & Business Opportunities with V.A., by Eloy Castillo
• Defining an Effective Expert Witness, by Carey Steigwalt, Esq.
• Anatomy of Civil Trial & Role of Expert Witnesses, by Andrew Schwartz, Esq.
• Job Analysis Methods for Forensic Testimony, by Roger A. Thrush, Ph.D.

International Association of Rehabilitation Professionals, April/May/June 2003                               04/03
• Animal Assisted Therapy and the Child with Severe Disabilities: A Case Study (1 hour)

American Board of Vocational Experts, Spring 2004 Conference, Charleston, NC (17 CEU’s)          3/19/04 - 3/21/04
• Vocational Economics: Point-Counterpoint
• Sexual Harassment: Challenges in the Modern Work Place
• Quantifying Psychological Injury in Employment Law, Medical Malpractice, and Other Cases
• Vocational Testimony: How to Prepare and Handle Cross-Examination
• Vocational Assessment Issues with Children & Adolescents
• Blood Poisoning in Pediatric Cases



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•   Vocational Correlates of Neuropsychological Assessment
•   Railroad Litigation: What’s Unique About This Area for Vocational Experts
•   New Techniques of Law
•   ABVE-Ethics & Issues

International Association of Rehabilitation Professionals, April/May/June 2004                               7/04
• Rehabilitation Counselor Burnout: Causes, Symptoms and Remedies (1 hour)

Pacific ADA & IT Center (Pacific Disability and Business Technical Assistance Center), American’s With
Disabilities Act (ADA) Update Training, San Francisco, CA (8 hours)                                      5/20/04
• Changes and court decisions regarding Titles II and II of the ADA by John Wodatch, Chief, Disabilities
  Rights Section, Department of Justice
• Updated information on Title I (the employment provisions of the ADA) by Adele Rapport, Federal
  Regional Attorney EEOC

International Association of Rehabilitation Professionals, July/August/September 2003                        4/04
• Ethical Objectivity in Forensic Rehabilitation (1 hour)

American Board of Vocational Experts 2004 Fall Conference, Las Vegas, NV                        10/1/04 – 10/3/04
• Round Table Discussion: Standards of Practice in California Family Law; by Marlis Bruns,
  Susan Stevenson, Peter Eliaser, Betty Kohlamberg, Robert Cottle & Rachel Hawk. (1.5 hours)
• Riding the Swinging Pendulum in California Worker's Compensation; by Susan Silberman, J.D., and
  Leonard Silberman, J.D. (1.5 hours)
• Can Your Test Results Be Challenged Because Base Rates Were Not Considered?; by Dr. Roskenranz, Ph.D.
  (1.5 hours)
• Considering the Whole Person: The Development & Role of Vocational Factors in the Social Security
  Administration Disability Program; keynote speaker Sylvia Karman, Sr. Policy Analyst for SSA. (1 hour)
• Unionization of VE's in Front of Social Security; by Kenneth Manges, Ph.D. (.5 hour)
• Inter-Organizational O'Net Task Force; by Sylvia Karman & Joseph Cannelongo. (1.5 hours)
• Functional Capacity Evaluation: Validity & Reliability Considerations; by Gary Amick, P.T., and Jim Strady, P.T.
  (1.5 hours)
• Legal-Political Update (re Social Security Programs & Regulations Impact on Vocational Experts; panel
  presentation (1 hour)
• Disfigurement & Its Effect on Employability; by Kenneth Manges, Ph.D. (1.5 hours)
• Mock Trial; moderator Ira Spector. (2 hours)
• Collaborative Divorce & the Value of Non-Wage Activity in the Household; by Ellen Gamberg, Ph.D. (1.5 hours)
• PTSD Post-9/11; by Ellen Gamberg, Ph.D. (1 hour)
• Job Analysis Formats & Measurements; by Allen Nogourney. (1 hour)

International Association of Rehabilitation Professionals, November/December 2004                            1/05
• Obesity: Addressing A Multifactorial Disease (1 hour)

Medicare Set-Aside Program, University of Florida, Atlanta, GA (16 hours)                    1/22/05 - 1/23/05
• Keynote: Michael Pierson, MSP Atlanta Regional Coordinator of The Centers for Medicare
  and Medicaid Services
• Medicare Set-Aside Allocations: Understanding the Basics; by Janice Gould, RN, CLCP of Gould & Lamb
  --Medicare Overview
  --Medicaid, SSD, SSI
  --Shifting the Burden to Medicare: Past, Present and Future
  --CMS Threshold for Review
  --The Medicare Set-Aside (MSA) Arrangement Overview
  --Past Medicare Payments
  --The Emergence of the Professional MSA Allocator
  --Multidisciplinary MSA Team
  --Process Flow Chart
  --Sample Cases



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• Medicare as the Secondary Payer; by Beverly Manley, Esq. of the Law Offices of Beverly Manley & Assoc., P.C.
  --Regulatory Framework
  --Enforcement Provisions
  --Case Law
  --Class Action
• CMS Policy Memorandums: Highlights; by Wade C. McGuffey, Jr, Esq. of Goodman, McGuffey, Lindsey &
  Johnson, LLP
• Medicare Conditional Payments; by Beverly Manley, Esq., Law Offices of Beverly Manley & Associates, P.C.
• The Role of the Attorney Specializing in Medicare Set-Aside Allocations; by Lisa Schrage, Esq. of the Law
  Offices of Lisa Schrage, LLC
• Medicare Basics; by Ramone Kimmins, CNLCP, CRRN, CCM
  --Determining what is Medicare Allowable
• MSA Allocation Report; by Ramone Kimmins, CRRN, CNLCP, CCM
• Relationship Between Life Care Planning & MSA's; by Earlene Stanislaw, CLCP, CCM, DABFN, LNCC
• The Role of the Structured Settlement Broker; by Bill Matthews of Ringler Associates, Inc.
• The Role of the Professional Administrator; by Robert Barson of Medivest, Inc.
• Medicare/MSA’s and Medicaid Special Needs Trusts; by David Paul Pollan, Esq. of The Pollan Law Firm
• Medicare Prescription Drug, Improvement and Modernization Act of 2003; by Thomas M. Finn, Esq. of Finn
  & Hurtt Attorneys at Law

Medicare Set-Aside Program, University of Florida, San Francisco, CA (16 hours)               2/24/05 - 2/25/05
• Introduction to program, by Thomas Bosserman, CMS, Health Insurance Specialist
• Keynote address, by Jeff Flick, Regional Administrator, CMS-SFO
• Medicare As a Secondary Payer, by Thomas Bosserman
• Coordination of Benefits (COB) Contractor, by Sherri McQueen, COBC
• Workers’ Compensation Medicare Set-Aside Arrangements, by Donna Kettish, CMS CO, Technical Advisor
• Workers’ Compensation Review Contractor, by Olivia Williams, CMS CO
• Workers’ compensation Data Exchange, by Neil Hoosier, COBC and CMS CO
• Medicare & Workers Compensation Recovery Issues, by Thomas Bosserman, Claudia DeCea/Greg Kost, UGS,
  Medicare Contractor
• CMS Panel Discussion with Q&A
• MSA and State Workers’ Compensation System, by Merle Ravine, Chairman WC Appeals Board; David Hettick,
  Esq., ALJ, SFO; Melissa Brown, Esq. Claimant Attorney; and Laura Bruyneel, Esq., Defense Attorney
• The Role of the Private Sector in MSA’s, by Robert T. Lewis, Esq.
  --From the WC Client’s Perspective by Lisa Schrage, Esq.
  --From the WC Carrier’s Perspective, by Sharif Cheatham, Esq.
  --The Role of the Allocator-Understanding the Basics, by Nancy LaGasse
  --The Role of the Life Care Planner as an Allocator, by Nancy LaGasse
  --Settling Liability Claims with MSA’s, by Jan Gould
  --Applying the Knowledge, by Jan Gould
• Panel Discussion with Q&A

International Association of Rehabilitation Professionals, July/August/September 2004                       2/05
• Pattern of Rehab. Services to Consumers of Diverse Ethnicity: One Stat’s Five-Year Perspective (1 hour)
• Best Practices in Cases of Gifted Individuals Who Sustain Acquired Brain Injuries (1 hour)

International Association of Rehabilitation Professionals, January/February/March 2006                      5/06
• The Need for a Formal Training Program to Prepare Vocational Experts (1 hour)
• Public Vocational Rehabilitation Outcomes (1 hour)

International Association of Rehabilitation Professionals, April/May/June 2006                              7/06
• The MMPI-2 and Other Personality Measures in Forensic Vocational Assessment (1 hour)




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International Association of Rehabilitation Professionals, July/August/September 2006                       8/06
• Worklife and Disability: Confronting the Myths (1 hour)
• Preventing Falls with a Multi-Disciplinary Approach: A Collaborative Effort Between Occupational Therapy,
  Nursing, and Neuro-Optometric Rehabilitation (1 hour)

International Association of Rehabilitation Professionals 2006 Forensic Conference, Scottsdale, AZ    11/3-4/06
• Expert Testimony in the CSI World, The Honorable Lynn S. Muller, RN, BS, JD, CCM, JMC (1.5 hours)
• Maintaining Objectivity in Loss-of-Earnings Capacity and Life Care Planning, Donald E. Woodall, MS,
  CRC, LPC, Bruce Brawner, MA, CRC, LCP, David Stewart, MA, CRC, LCP, CLCP (1.5 hours)
• Loss of Household Services: Quantifying the Loss, Kenneth Reagles, PhD (1.5 hours)
• A Framework for ADA Evidence, Lewis E. Vierling, MS, NCC, NCCC, CRC, CCM (1.5 hours)
• Advisory Opinions Issued by the CRCC Ethics Committee Affecting Private Sector and Forensic Practice,
  Mary Barros-Bailey, MA, CRC, CDMS, CLCP, NCC, ABVE-D, Ann Neulicht, PhD, CLCP, CRC, CVE,
  CDMS, ABVE-D, LPC (1.5 hours)
• Supporting the Expert’s Opinion: Research Relative to Employment Law Cases, Angela M. Heitzman, MA,
  CRC, CLCP, MSCC; Carl Gann, Med, CRC, CDMS, ABVE-D (1.5 hours)
• Which Tests Really Measure Up? A Resource Guide for Vocational Experts, Judith Drew, PhD (1.5 hours)
• Loss of Competitive Advantage: The Ignored Element of Damage, Kenneth Reagles, PhD (1.5 hours)

International Association of Rehabilitation Professionals, October/November/December 2006                     11/06
• Working Alliance and Workers’ Compensation: Implications of the Working Alliance Model for
  Rehabilitation Counselors in the Workers’ Compensation System (1 hour)
• The Earning Capacity Assessment Form: An Exploratory Factor Analysis (1 hour)
• Counseling and Forensic Issues in Identification and Intervention in Factitious Disorders, Munchausen’s
  Syndrome and Malingering (1 hour)

American Board of Vocational Experts                                                             3/29/07 – 4/1/07
• 3/30/07, How to Take the Fear Out of Cross-Examination by Michael Graham (4.5 hours)
• 3/30/07, Legal Restrictions on Employment; Solutions for Unique Workers by Sok-Khieng Lin, Esq.,
  and Betty Kholenberg (2.25 hours)
• 3/30/07, Advanced Testimony Skills: Successful Expert Witness Testimony by Paul Luvera, Esq. (2.25)
• 3/30/07, Translating Neuropsychological Test Results into Prediction of Employability by Roger Meinz, Ph.D.
  (2.25 hours)
• 3/31/07, A View from the Bench: The Future of Expert Witnesses by Judge Michael J. Trickey, Kings County
  Superior Court (1.5 hours)
• 3/31/07, Interactive Report Writing for Different Forensic Venues by Carl Gann, Esq. (Employment Law),
  Marlis Bruns, Esq. (Family Law), and Larry Sinsabaugh, Esq. (Personal Injury) (2.25 hours)
• Interactive Round Table with Speakers & Participants; Monitors Carl Gann, Esq., Marlis Bruns, Esq., and
  Larry Sinsabaugh, Esq. (1.5 hours)
• 3/31/07, How to Access a Mine Data Sources for Forensic Decision by Jane Fields and Judith Parker.
  (2.25 hours)
• 3/31/07, The Necessary Interface Between Economic & Vocational Experts by Eugene Silverberg, Ph.D.
  (1.5 hours)
• 3/31/07, New Emerging Practice Guidelines for Forensic Life Care Planners by Julie Kitchen (2.25 hours)

International Association of Rehabilitation Professionals, January/February/March 2007                         7/07
• Obesity and Hypertension in Individuals Aging with Brain Injury (1 hour)
• Knowledge and Attitudes Towards Consumers with HIV/AIDS (1 hour)

International Association of Rehabilitation Professionals, April/May/June 2007                                  7/07
• Are Ethics at Risk for Vocational Experts? (1 hour)
• Liability Insurance Issues for Rehabilitation Services Professional in Provision of Powered Mobility Devices to
  Clients? (1 hour)




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International Association of Rehabilitation Professionals, July/August/September 2007                          7/07
• Predicting Program Completion Outcomes of Consumers of State Operated Comprehensive Rehabilitation
  Centers (1 hour)
• Predictors of 9/11 Disability Insurance Claim Duration for People with Post Traumatic Stress Disorder (1 hour)

International Association of Rehabilitation Professionals 2007 Forensic Conference, Las Vegas, NV        11/2-3/07
• Music Within, Richard Pimental (Heighten awareness of experience of people with disability) (1.5 hours)
• The Alphabet Soup of Credentialing, Anthony J. Choppa, Med; Timothy F. Field, PhD; and Robert Weed, PhD
  (1.5 hours)
• Long Term Planning for Individuals with Visual Impairments, Carolyn Wiles Higdon, PhD (1.5 hours)
• Labor Market Search: Utilization of Labor Market Research and Employer Sampling by Vocational Experts,
  John F. Berg, Med,; Carl Gann, Med; Ann T. Neulicht, PhD; and Robert H. Taylor, MA (1.5 hours)
• Enhancing the Voc and LCP Expert’s Effectiveness in Litigation—Working with the Forensic Economist,
  Barry Ben-Zion, PhD, Professor Emeritus and Consulting Forensic Economist (1.5 hours)
• Professional and Expert Testimony: Ethics and Communication Issues, Gordon J. Blush, EdD (1.5 hours)
• Know when to Hold ‘Em: A Roundtable Discussion (relative to practicing forensic rehabilitation, ethical
  issues (1.5 hours)
• Safeguarding Confidentially: Best Practices for Electronic Communication and Data Storage, Mary Barros-
  Bailey, PhD and Robert Barros-Bailey, MPA (1.5 hours)

International Association of Rehabilitation Professionals, Volume 15 Number 4, 2007                     11/07
• Labor Market Search: Utilization of Labor Market Research and Employer Sampling by Vocational Experts
  (1 hour)
• Applications of Work Physiology Science to Capacity Test Prediction of Full-Time Work – Eight Hour
  Work Day (1 hour)

International Association of Rehabilitation Professionals 2008 Forensic Conference, Los Angeles, CA           5/08
• Comparing disability outcomes using empirical data on earnings loss for disabled workers compensation
  claimants (Rand published study evaluating permanent disability ratings in CA), Robert T. Reville, PhD,
  Director of Institute for Civil Justice (1.5 hours)
• Improving Outcomes through Effective Collaboration with Neuro-Optometry, Eric T. Ikeda, OD, FCOVD,
  Neuro Optometric Rehabilitation Association, International, Inc. (2.0 hours)
• Employment Numbers: An Industry Evolution (accuracy and methodology behind popular employment
  number statistics), Jeffrey Truthan, MS, CVE, President, SkiiTRAN LLC (2.0 hours)
• Rehabilitation Counseling: Focus on the Future, Amy Armstrong, PhD, CRC, Assistant Professor, VA
  Commonwealth U, et al. (1.5 hours)

International Association of Rehabilitation Professionals, Volume 16 Number 2, 2008                           7/08
• The Earning Capacity Assessment Form: A Study of Its Reliability (1 hour)
• The International Classification of Functioning Model & Untreated Psychological Need in Workers'
  Compensation (1 hour)

International Association of Rehabilitation Professionals, Volume 17 Number 2, 2009                           5/09
• A Call to Update the DOT: Findings of the IARP Occupational Database Committee (2 hours)
• Military-related PTSD: The epidemiology, Symptoms, and Treatment Considerations (2 hours)

International Association of Rehabilitation Professionals, Volume 17 Number 4, 2009                           1/10
• Video Recordings in Forensic Examinations (2 hours)
• Content Analysis of Factors Identified in Vocational Evaluation Analysis Reports (2 hours)

International Association of Rehabilitation Professionals, Volume 18 Number 1, 2010                           3/10
• The Impact of Case Law Vocational Expert Examinations and Opinions in Marital Dissolution (2 hours)




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International Association of Rehabilitation Professionals, Volume 18 Number 3, 2010                 10/10
• The People Have Spoken: Perceived Barriers in North Carolina WC Case Management (2 hours)
• Updated Values of Household Services from the American Time Use Survey: Values by Gender, Age and
  Employment Status (2 hours)

International Association of Rehabilitation Professionals, Volume 18 Number 4, 2010                         5/11
• Adjustment Disorder: Considerations for the Workers’ Compensation System (2 hours)

International Association of Rehabilitation Professionals, Volume 19 Number 1, 2011                        5/11
• Proposed Application of the Delphi Method for Expert Consensus Building within Forensic Rehabilitation
  Research: A Literature Review (2 hours)
• Future Work Propensity: A Proposed Alternative to Purely Statistical Models of Work-Life Expectancy (2 hours)

CDMS (Certified Disability Management Specialists) Webinar, "Evolving Work Force: Older
Workers' Impact on the Disability Management Process." (2 hours)                                         7/26/12

Upper Extremity Impairment Considerations in Life Care Planning, Life Participant Webinar by
International Assn. of Rehabilitation Professionals (Confirmation #9738110). (2 hours)                   8/14/12

Complementary and Alternative Medicine in Rehabilitation: Body-Oriented and Mind/Body Therapies
by Continuing Education for Certified Health Professionals (22 hours)                                    8/13/13

Post-traumatic Stress Disorder (PTSD): The Basics, Treatment Modalities and Family Issues by
Continuing Education for Certified Health Professionals (14 hours)                                       8/13/13

Conflict of Interest - Its Pervasive Impact on Ethical Decision-Making by Continuing Education for
Certified Health Professionals (8 hours)                                                                 8/15/13

Americans with Disabilities Act: Overview, Legal Cases and Political Updates by Continuing
Education For Certified Health Professionals (16 hours)                                                  8/19/13

Privacy Fundamentals, Medical Privacy & HIPAA by Continuing Education for Certified Health
Professionals (18 hours)                                                                                 8/28/13

Alternative Medicine in Rehabilitation Part 1: Body Based Therapies (22 credits, self-study)             10/1/14

Alternative Medicine in Rehabilitation Part 2: Energy-Based Therapies (18 credits, self-study)           10/1/14

Ethical Dilemmas and Considerations (6 credits), self-study                                             10/18/15

Conflict of Interest: Ethical Dilemmas (8 credits, self-study)                                          10/18/15

PTSD Part 1: Assessment and Treatment (16 credits, self-study)                                          10/24/16

Burns: Assessment, Rehab and Lifelong Healing (10 credits, self-study)                                  10/25/16

Aging and Spinal Cord Injury (12 credits, self-study)                                                   10/26/17

Opioid Abuse: Diagnosis, Culture and Treatment (10 credits, self-study)                                 10/26/18




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                                                     ACTIVITIES

PRESENTATIONS:
Vocational Evaluations & Life Care Plans in Personal Injury Cases
•American Board of Trial Advocates, 5/31/83
Nuts & Bolts Aspects of Forensic Vocational Evaluations
•Santa Barbara Bar Assn., Litigation Division, 8/31/89
Defense Forensic Vocational Evaluations & Life Care Plans
•Paper presented in-house, Law Firm of Lawler, Bonham & Walsh, 5/3/90
Defense and Plaintiff Forensic Vocational Evaluations & Life Care Plans
•Paper presented in-house, Law Firm of Mullen, McCaughey & Henzell, 5/16/90
Defense Forensic Evaluations & Life Care Plans
•Law Firm of Archbald & Spray, 1990
Defense Forensic Evaluation
•Law Firm of Nordman, Cormony, Hair & Compton, 1991
Defense Forensic Evaluation
•Law Firm of Henderson & Wolgamuth, 1991
Forensic Vocational Evaluations & Life Care Planning
•St. Paul Fire & Marine, 1993
Provisions of American with Disabilities Act
•In-house presentation, Kinko’s Corporation, Phoenix 1994
Plaintiff and Defense Vocational Evaluations & Life Care Plans
•Santa Barbara Legal Assistants Association, 1994
Plaintiff Vocational Evaluations & Life Care Plans
•Santa Barbara Bar Association, 1994
Life Care Planning, Las Vegas
•Consumer Attorneys, California Trial Lawyers Association, 1995
Panel Presentation: Plaintiff vs. Defendant Vocational evaluation & Life Care Planning
•Ventura Bar Association, 1995
American Law Institute--American Bar Assn., Committee on Continuing Professional Education, 6 th Annual
Advanced, ALI-ABA Course of Study for Plaintiff & Defense Bars, Current Developments in Employment Law,
7/15/99 – 7/17/99, Santa Fe, New Mexico
Topics--
•Vocational Rehabilitation Experts in ADA and Other Employment Cases (Mitigation; Substantial Limitations; Loss
of Future Earnings; When to Use Such an Expert; Special Problems in Preparation for Direct/Cross Examination)

Mock Trial/Panel Discussion: Cross-Examination of Vocational Expert
•Ventura County Trial Lawyers Assn., 7/27/99

In-House Presentation on Plaintiff & Defense Vocational Evaluations, Life Care Planning, and Household Duties
Analysis for Litigation Purposes
•Woosley & Associates, Santa Barbara, 1/18

PUBLICATIONS:
American Disabilities Act Alliance Newsletter, Center on Education & Work, University of Stout
•Kinko’s Way Ahead on ADA; chapter on Life Care Planning, 4/93
Dental Malpractice. Author: Safler; Publisher: Wylie & Sons, Inc.
•Chapter on Life Care Planning, 4/26/96                                                      Revised: 10/30/18



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                             Exhibit E
                           Fee Schedule




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                                                           Mail all correspondence to the Santa Barbara office
                                                           ■ 5290 Overpass Road, Suite 118, Santa Barbara, CA 93111 • (805) 692-1823
                                                           • Fax (805) 692-1827 • E-mail: info@coastrehabservicesinc.com


                                                  FEE SCHEDULE FOR LITIGATED CASE WORK

PROFESSIONAL FEES

PROFESSIONAL TIME ............................................................................................................................................... $600.00 PER HOUR
RUSH WORK-UP ........................................................................................................................................................ $720.00 PER HOUR
TRAVEL TIME ...............................................................................................................................$600.00 PER HOUR + $.58 PER MILE
WAITING TIME .......................................................................................................................................................... $600.00 PER HOUR
DEPOSITION TESTIMONY TIME ...................................................................................... $800.00 PER HOUR (2-HOUR MINIMUM)*
TRIAL AND/OR ARBITRATION TESTIMONY FEES ................................... HALF DAY $3,200, FULL DAY $6,400 PLUS TRAVEL
DESIGNATION.......................................................................................................................................................................... $1,500.00**
CHANGES/CANCELLATIONS WITHOUT 24-HOUR NOTICE:
      For appointments……………………………………….$600.00 per hour (2-hour charge)***
      For deposition/testimony……………………………….$800.00 per hour (2-hour charge)***

OTHER FEES
CLERICAL ..................................................................................................................................................................... $50.00 PER HOUR
PHOTOCOPIES................................................................................................................................................................... $.25 PER PAGE

                                         DEPOSITION FEES (2-HOUR MINIMUM) ARE DUE AND PAYABLE
                                                      BEFORE THE DEPOSITION DATE

PROFESSIONAL TIME is time spent by the counselor conducting interviews, reviewing records, performing general casework,
research, investigation, and/or writing reports.

TRAVEL TIME is time spent traveling to and from interviews of plaintiffs or defendants, interviews of employers, meetings with
attorneys, meetings with doctors or other professionals, conducting job analyses, etc.

WAITING TIME is time spent waiting to visit physicians, attorneys, employers, plaintiff/defendant, or other professionals.

TESTIMONY TIME is time spent testifying at pretrial hearings, administrative law hearings, courtroom testimony, depositions, and/or
arbitration hearings.

Telephone charges and extraordinary expenses are charged according to expense incurred while working on each case.

*             If the deposition runs over 2 hours, we will submit an invoice to the responsible party. As per the Code of Civil Procedure,
              Section 2034, paragraph 2, we expect the invoice to be paid in full within 5 days.

**            If services commence, the designation fee will be credited towards the account.

***           Changes/cancellations without 24-hour notice will be charged according to the amount of time allotted for the appointment.

                                                                                                                                                                              Rev. 5-13-19




                                                                                                                                                                        Bennett - 064
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                             Exhibit F
                     List of Expert Testimony




                                                               Bennett - 065
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          DEPOSITION OR TESTIMONY BY EDWARD L. BENNETT
                       WITHIN LAST 4 YEARS

Bahram Yahyavi vs. Capriati Construction Corp. Inc.
      Venue/Case No.: Clark County, Nevada Court Case # A-15-718689
      Testimony Date: 9/23/19
            Retained/Representing: Mark J. Brown, Esq./ Defense

Dr. Ellie Kaucher vs. Phillips Graduate University, et al.
        Venue/Case No.: Los Angeles County Court Case # BC699890
        Deposition Date: 9/12/19
        Retained/Representing: Ryan Kohler, Esq./ Defense

Lorena Irribarra vs. Gonzalez Transportation, et al.
       Venue/Case No.: Los Angeles County Court Case # BC645799
       Deposition Date: 9/5/19
       Retained/Representing: David S. Poole, Esq./ Defense

Wilmer Vargas v. CH Palladium, LLC, et al.
      Venue/Case No.: Los Angeles County Court Case # BC667783
      Deposition Date: 8/9/19
      Retained/Representing: Geronimo Perez, Jr., Esq./ Defense

Gustavo Valdovinos and Rosa Valdovinos v. Michael Nunnenkamp, et al.
      Venue/Case No.: Los Angeles County Court Case # MC027079
      Deposition Date: 7/17/19
      Retained/Representing: Mary Fersch, Esq./ Defense

Francisco Gonzalez Castaneda v. County of San Bernardino, et al.
       Venue/Case No.: San Bernardino County Court Case # CIVDS1505048
       Testimony Date: 7/11/19
       Retained/Representing: Cao, Linh, Esq./ Defense

Kyle Power and Estefania Bates vs. Bigge Crane and Rigging Co., et al.
       Venue/Case No.: Riverside County Court Case # RIC1719507
       Deposition Date: 7/9/19 (Bates)
       Retained/Representing: Jeffrey J. Christovich, Esq./ Defense

Manuel Candelas vs. Mazir Khatibi Nejad Fard, et al.
      Venue/Case No.: Los Angeles County Court Case # BC634436
      Deposition Date: 6/24/19
      Retained/Representing: Christopher Wesierski, Esq./ Defense

Francisco Gonzalez Castaneda v. County of San Bernardino, et al.
       Venue/Case No.: San Bernardino County Court Case # CIVDS1505048
       Deposition Date: 6/10/19




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      Retained/Representing: Cao, Linh, Esq./ Defense

Liam Lyons, et al. v. Los Angeles Unified School District, et al.
      Venue/Case No.: Los Angeles County Court Case # BC624654
      Deposition Date: 6/6/19
      Retained/Representing: Thomas C. Hurrell, Esq./ Defense

Zachary Hill v. Millicent Grace Graham, et al.
      Venue/Case No.: Riverside County Court Case # RIC1705524
      Deposition Date: 4/11/19
      Testimony Date: 5/22/19
      Retained/Representing: Matthew Anderson, Esq./ Defense

Adriana Guzman, et al. vs. Chipotle Mexican Grill, Inc. et al.
       Venue/Case No.: Northern District Court Case # 4:17-cv-02606-HSG
       Deposition Date: 4/5/19
       Retained/Representing: Charles C. Cavanagh, Esq./ Defense

James Ryan Peterson v. City of Long Beach, et al.
      Venue/Case No.: Los Angeles County Court Case # BC645456
      Testimony Date: 3/13/19
      Retained/Representing: Howard Russell, Esq./ Defense

Nicole Takemotto, et al. vs. William Scott Evans, et al.
       Venue/Case No.: Los Angeles County Court Case # BC651834
       Deposition Date: 2/28/19
       Retained/Representing: Lisa Renaud, Esq./ Defense

James Ryan Peterson v. City of Long Beach, et al.
      Venue/Case No.: Los Angeles County Court Case # BC645456
      Deposition Date: 2/27/19
      Retained/Representing: Howard Russell, Esq./ Defense

Meena Zareh, MD v. USC, County of Los Angeles, et al.
      Venue/Case No.: Los Angeles County Court Case # BC644274
      Deposition Date: 2/12/19
      Retained/Representing: Leslie Levy, Esq./ Plaintiff

Kevin Wang, et al. v. Sun Hospitality, Inc., et al.
      Venue/Case No.: Los Angeles County Court Case # BC680195
      Testimony Date: 2/4/19
      Retained/Representing: Jim Procter, Esq./ Defense

Shamone Coilton vs. Cemex Management, Inc., et al.
     Venue/Case No.: San Bernardino County Court Case # CIVDS1708364
     Deposition Date: 1/22/19




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       Retained/Representing: Peter Dubrawski, Esq./ Defense

Tabatha Thaker v. Joseph Caserma, et al.
       Venue/Case No.: Los Angeles County Court Case # BC623508
       Deposition Date: 1/17/19
       Retained/Representing: James L. Grandy, Esq./ Defense

Juan Pablo Aldana Lira vs. Chipotle Mexican Grill, Inc., et al.
       Venue/Case No.: San Francisco County Court Case # CGC-17-557168
       Deposition Date: 12/20/18
       Retained/Representing: Charles C. Cavanagh, Esq./ Defense

Kevin Wang, et al. v. Sun Hospitality, Inc., et al.
      Venue/Case No.: Los Angeles County Court Case # BC680195
      Deposition Date: 11/29/18
      Retained/Representing: Jim Procter, Esq./ Defense

Darwin Stiles vs. Nor-Cal Beverage Co., Inc., et al.
      Venue/Case No.: Orange County Court Case #30-2017-00956209-CU-WT-CJC
      Deposition Date: 11/1/18
      Retained/Representing: Armond Jackson, Esq./ Plaintiff

Allen Miller v. CH Robinson Worldwide, Inc., et al
       Venue/Case No.: District of Nevada Court Case #3:17-cv-00408-MMD-WGC
       Deposition Date: 10/30/18
       Retained/Representing: Michael Sullivan, Esq./ Defense

Terry A. Holmes v. Robert B. Perry, et al.
       Venue/Case No.: Riverside County Superior Court Case # RIC1702855
       Deposition Date: 9/6/18
       Testimony Date: 9/24/18
       Retained/Representing: Manuel Dominguez, Esq./ Defense

Peggy A. Badong v. Hathem Mahmoud Abdallah, et al.
      Venue/Case No.: Alameda County Superior Court Case # RC17-858807
      Deposition Date: 8/2718
      Retained/Representing: Allison L. Grandy, Esq./ Defense

Stacey Algee vs. Katrina Tokatly, et al.
       Venue/Case No.: Riverside County Superior Court Case # RIC1703374
       Deposition Date: 7/19/18
       Retained/Representing: Allison L. Grandy, Esq./ Defense

Elijah Pomaika Simone vs. Bruce Graham Jameson, et al.
        Venue/Case No.: Orange County Superior Court Case #30-2016-00832256-CU-PA-CJC
        Testimony Date: 7/17/18 & 7/18/18




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       Retained/Representing: Douglas D. Cullins, Esq./ Defense

Avril Gerscovich, et al. v. Douglas Emmett, et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC532451
       Testimony Date: 6/26/18
       Retained/Representing: Shawn McCann, Esq./ Plaintiff

Robert Earl Anthony Venkus v. Santiago O. Nolasco, et al.
       Venue/Case No.: Sacramento County Superior Court Case # 34-2016-00204507
       Deposition Date: 6/14/18
       Retained/Representing: Brian H. Gunn, Esq./ Defense

Avril Gerscovich, et al. v. Douglas Emmett, et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC532451
       Deposition Date: 5/10/18
       Retained/Representing: Shawn McCann, Esq./ Plaintiff

John Yoder, by and through his Guardian Ad Litem Sarah Yoder vs. Jonathon Williams,
et al.
       Venue/Case No.: Kern County Superior Court Case # S-1500-CV-282058
       Deposition Date: 5/10/18
       Retained/Representing: Judy McKelvey, Esq./ Defense

Griffith v. Blue Star Home Health, Inc.
        Venue/Case No.: Los Angeles County Superior Court Case # BC649826
        Deposition Date: 4/30/18
        Retained/Representing: Michael Moran, Esq./ Plaintiff

Jennifer Travis v. Hugo Cendejas, et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC570734
       Deposition Date: 4/19/18
       Retained/Representing: Kathleen Carter, Esq./ Defense

William Lerette v. Alaska Airlines, Inc., et al
       Venue/Case No.: U.S. District Court Case # 2:17-CV-03782-DSF-AJW
       Deposition Date: 4/12/18
       Retained/Representing: Arthur Willner, Esq./ Defense

Kimberly Brand v. Equity Residential Properties Management Corp., et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC571207
      Testimony Date: 4/11/18
      Retained/Representing: William F. Salle, Esq./ Plaintiff

Kelly Hampton v. Angela Jarasunas, et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC590663
       Deposition Date: 4/2/18




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      Retained/Representing: Douglas D. Cullins, Esq. /Defense

Reis v. City of Chino Hills, Time Warner NY Cable, etc.
        Venue/Case No.: San Bernardino County Superior Court Case # CIVRS 1013457
        Testimony Date: 3/12/18
        Retained/Representing: Jonathon Sher, Esq. /Defense

Dylan Christensen, et al. v. Tradecor PCH Anza, et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC614820
      Deposition Date: 3/8/18
      Retained/Representing: German Marcucci, Esq. /Defense

Pamela Jean Pacific, et al. vs. Martin Preciado, et al.
      Venue/Case No.: San Bernardino County Superior Court Case # CIVDS 1609833
      Testimony Date: 1/25/18
      Retained/Representing: John Larson, Esq. /Defense

Amber Bell v. Jose Luis Aceves, et al.
      Venue/Case No.: Ventura County Superior Court Case #56-2015-00473151
      Testimony Date: 1/18/18
      Retained/Representing: Marjorie E. Motooka, Esq. /Defense

Pamela Jean Pacific, et al. vs. Martin Preciado, et al.
      Venue/Case No.: San Bernardino County Superior Court Case # CIVDS 1609833
      Deposition Date: 1/2/18
      Retained/Representing: John Larson, Esq. /Defense

Amber Bell v. Jose Luis Aceves, et al.
      Venue/Case No.: Ventura County Superior Court Case #56-2015-00473151
      Deposition Date: 12/21/17
      Retained/Representing: Marjorie E. Motooka, Esq. /Defense

Estela Gonzalez v. Mehrangiz Mofid, et al.
       Venue/Case No.: Los Angeles County Superior Court Case #BC506721
       Deposition Date: 11/13/17
       Retained/Representing: Nathan Malone, Esq. /Defense

Jorge Puerto vs. Guaranty Chevrolet Motors, Inc., et al.
       Venue/Case No.: Orange County Superior Court Case # 30-2015-00771813
       Deposition Date: 10/11/17
       Retained/Representing: Scott Macdonald, Esq. /Defense

Kischa Loving v. Sandra “Sandy” Carrizosa, et al.
       Venue/Case No.: US District Court Case # CV16-01366-TJH-KS
       Deposition Date: 10/10/17
       Retained/Representing: Christopher Hill, Esq. /Defense




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Steven Paul Picazzo & Mary Picazzo v. C.W. Driver, Inc., et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC531187
       Testimony Date: 10/4/17
       Retained/Representing: Mark Vranjes, Esq. /Defense

Barbara Christopher v. Neiman Marcus Group LLC., et al.
       Venue/Case No.: United States District Court Case # 2:16-cv-06309-ODW(KSx)
       Deposition Date: 9/28/17
       Retained/Representing: Keith Sipprelle, Esq./Defense

Richard B. Sarafian v. Wright Medical Technology, Inc., et al.
       Venue/Case No.: United States District Court Case # CV15-09397
       Deposition Date: 9/26/17
       Retained/Representing: Sean Burke, Esq./Defense

Kristin Biorn v. Wright Medical Technology, Inc., et al.
        Venue/Case No.: United States District Court Case # CV15-07102
        Deposition Date: 9/26/17
        Retained/Representing: Sean Burke, Esq./Defense

Sergio Barrera, Elizabeth Barrera v. Kent Allan Pfeffer, et al.
       Venue/Case No.: Kern County Superior Court Case # S-1500-CV-283948
       Testimony Date: 9/21/17
       Retained/Representing: Scott L. Macdonald, Esq./Defense

Matthew John Lennig, Michael Lennig, et al. v. CRST, Inc., et al.
      Venue/Case No.: Los Angeles County Superior Court Case # MC025288
      Deposition Date: 8/31/17 & 9/12/17
      Retained/Representing: Michael Gallagher, Esq./ Defense

Isabella Sanchez v. Durham School Services, et al.
        Venue/Case No.: San Bernardino County Superior Court Case # CIVDS1309504
        Testimony Date: 9/11/17
        Retained/Representing: Robert Rubin, Esq./Defense

Yan Ding, et al. vs. China Overseas Travel Group, Inc., et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC590677
      Deposition Date: 9/8/17
      Retained/Representing: Michael N. Schonbuch, Esq./ Defense

Howard Smith v. Space Exploration Technologies Corp., et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC486475
      Deposition Date: 9/7/17
      Retained/Representing: Summer Wynn, Esq./ Defense




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James Cobb vs. County of Los Angeles, et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC582690
      Testimony Date: 8/22/17
      Retained/Representing: Tomas A. Guterres, Esq./ Defense

Rosa Ortiz v. Single Room Occupancy Housing Corp., et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC619385
      Deposition Date: 8/1/17
      Retained/Representing: Chris Cato, Esq./ Defense

Katherine Hollimon v. Southern California Edison
       Venue/Case No.: Los Angeles County Superior Court Case # BC597284
       Deposition Date: 7/21/17
       Retained/Representing: Gregory Bodell, Esq./ Plaintiff

Jesse Chavarria V. Management & Training Corp., et al.
       Venue/Case No.: San Diego County Superior Court Case #16CV00617
       Deposition Date: 7/18/17
       Retained/Representing: Jennifer Ghozland, Esq./ Defense

Kimberly Brand v. Equity Residential Properties Management Corp., et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC571207
      Deposition Date: 7/7/17
      Retained/Representing: William F. Salle, Esq./ Plaintiff

James Cobb vs. County of Los Angeles, et al.
      Venue/Case No.: Los Angeles County Superior Court Case # BC582690
      Deposition Date: 6/22/17
      Retained/Representing: Tomas A. Guterres, Esq./ Defense

Sarah Stinson v. Pepperdine University, et al.
       Venue/Case No.: Los Angeles County Superior Court Case #BC591794
       Testimony Date: 6/15/17
       Retained/Representing: Marlynn Howe, Esq./ Defense

Isabella Sanchez v. Durham School Services, et al.
        Venue/Case No.: San Bernardino County Superior Court Case # CIVDS1309504
        Deposition Date: 6/14/17
        Retained/Representing: Robert Rubin, Esq./Defense

Sergio Barrera, Elizabeth Barrera v. Kent Allan Pfeffer, et al.
       Venue/Case No.: Kern County Superior Court Case # S-1500-CV-283948
       Deposition Date: 6/13/17
       Retained/Representing: Scott L. Macdonald, Esq./Defense

Alfonso Serna, Jr. v. Jorge Recendez, OC Hills Company




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       Venue/Case No.: Riverside County Superior Court Case # RIC1600289
       Deposition Date: 6/9/17
       Retained/Representing: Doug Cullins, Esq./Defense

Jason Blasdell vs. Space Exploration Technologies, Corp., et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC615112
       Testimony Date: 6/5/17
       Retained/Representing: Summer Wynn, Esq./Defense

Jason Blasdell vs. Space Exploration Technologies, Corp., et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC615112
       Deposition Date: 5/31/17
       Retained/Representing: Summer Wynn, Esq./Defense

Jane Grady, et al. vs. UTC Supercuts, et al.
       Venue/Case No.: San Diego County Superior Court Case #37-2015-00021461
       Deposition Date: 5/29/17
       Retained/Representing: Mark Vranjes, Esq./Defense

Griselda Castro, et al. v. City of Thousand Oaks, et al.
       Venue/Case No.: Ventura County Superior Court Case #56-2013-0432039
       Testimony Date: 5/17/17
       Retained/Representing: Lars Johnson, Esq./ Plaintiff

Erik Joe Morales et al. v. Well-Pict, et al.
       Venue/Case No.: Ventura County Superior Court Case # 56-2016-00481672
       Testimony Date: 5/12/17 and 5/23/17
       Retained/Representing: David Bricker, Esq./ Plaintiff

Herman Jimenez, Jr. v. Brad Taylor, et al.
      Venue/Case No.: Kern County Superior Court Case #BCV-15-100262
      Testimony Date: 5/8/17
      Retained/Representing: Eric S. Eliot, Esq./ Defense

Herman Jimenez, Jr. v. Brad Taylor, et al.
      Venue/Case No.: Kern County Superior Court Case #BCV-15-100262
      Deposition Date: 4/20/17
      Retained/Representing: Eric S. Eliot, Esq./ Defense

Grace Tor v. Orange County Global Medical Center
       Venue/Case No.: Orange County Superior Court Case # 30-2015-00809291
       Testimony Date: 4/12/17
       Retained/Representing: David Bricker, Esq./ Plaintiff

Elijah Pomaika Simone vs. Bruce Graham Jameson, et al.
        Venue/Case No.: Orange County Superior Court Case #30-2016-00832256-CU-PA-CJC




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      Deposition Date: 3/16/17
      Retained/Representing: Douglas D. Cullins, Esq./ Defense

Sarah Stinson v. Pepperdine University, et al.
       Venue/Case No.: Los Angeles County Superior Court Case #BC591794
       Deposition Date: 3/8/17
       Retained/Representing: Marlynn Howe, Esq./ Defense

Grace Tor v. Orange County Global Medical Center
       Venue/Case No.: Orange County Superior Court Case # 30-2015-00809291
       Deposition Date: 2/17/17
       Retained/Representing: David Bricker, Esq./ Plaintiff

Brian Bunnak vs. Kion James Mosbat, et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC571975
       Deposition Date: 2/8/17
       Retained/Representing: Michael N. Schonbuch, Esq./ Defense

Griselda Castro, et al. v. City of Thousand Oaks, et al.
       Venue/Case No.: Ventura County Superior Court Case #56-2013-0432039
       Deposition Date: 12/30/16
       Retained/Representing: Lars Johnson, Esq./ Plaintiff

Michele Coyle v. Regents of the University of California, et al.
      Venue/Case No.: Riverside County Superior Court Case # 1503362
      Deposition Date: 12/13/16
      Retained/Representing: Nancy J. Sheehan, Esq./ Defense

Erik Joe Morales et al. v. Well-Pict, et al.
       Venue/Case No.: Ventura County Superior Court Case # 56-2016-00481672
       Deposition Date: 11/21/16 & 12/2/16
       Retained/Representing: David Bricker, Esq./ Plaintiff

Kenneth Harsla v. Kaiser Foundation Health Plan, Inc., et al.
      Venue/Case No.: Los Angeles County Superior Court Case # 13350
      Deposition Date: 11/29/16
      Retained/Representing: Marvin Fischler, Esq./ Defense

Marriage of Grondin
       Venue/Case No.: San Luis Obispo County Superior Court Case # 15FL-0338
       Testimony Date: 11/17/16
       Retained/Representing: Daniel Helbert, Esq./ Petitioner

Emilio Hernandez v. Boparai Transport, et al.
       Venue/Case No.: San Bernardino County Superior Court Case # CIVDS 1407772
       Testimony Date: 11/10/16




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       Retained/Representing: Craig Roeb, Esq./ Defense

Jason Lockhart v. Rental Car Finance Corp.
       Venue/Case No.: San Luis Obispo County Superior Court Case # SCV0241
       Deposition Date: 11/9/16
       Retained/Representing: Steven Finch, Esq./Defense

Nicholas Stellate v. Federal Express, et al.
       Venue/Case No.: Los Angeles County Superior Court Case #BC536881
       Testimony Date: 11/7/16
       Retained/Representing: Robert Panza, Esq./Defense

Emilio Hernandez v. Boparai Transport, et al.
       Venue/Case No.: San Bernardino County Superior Court Case # CIVDS 1407772
       Deposition Date: 10/6/16
       Retained/Representing: Craig Roeb, Esq./ Defense

Maria Boero Ferradas/Soliz vs. City of Big Bear Lake, et al.
       Venue/Case No.: San Bernardino County Superior Court Case # CIVDS 1409268
       Testimony Date: 9/28/16
       Retained/Representing: Scott Grossberg, Esq./ Defense

Eileen He Ruan & Jason Jun Wang v. Maguire Properties, Inc., et al. Venue/Case No.:
       Los Angeles County Superior Court Case # BC480328
       Deposition Date: 9/15/16
       Retained/Representing: Anne Cruz, Esq./ Defense

Justin L. Palmer v. City of Santa Monica, et al.
        Venue/Case No.: Los Angeles County Superior Court Case #15-CV-06183-SJO-JC
        Testimony Date: 9/1/16
        Retained/Representing: Carol Ann Rohr, Esq./ Defense

Joseph Thomas Bubonic v. Noah Howe, et al.
       Venue/Case No.: Orange County Superior Court Case #30-2015-00794442-CU-PA-CJC
       Deposition Date: 8/26/16
       Retained/Representing: Jonathan R. Gerber, Esq./ Defense

Ellen Morgan, et al. v. Pre-Con Products, et al.
       Venue/Case No.: Ventura County Superior Court Case #56-2013-00439776-CU-PO-VTA
       Deposition Date: 8/22/16
       Retained/Representing: Edward R. Leonard, Esq./ Defense

Maria Boero Ferradas/Soliz vs. City of Big Bear Lake, et al.
       Venue/Case No.: San Bernardino County Superior Court Case # CIVDS 1409268
       Deposition Date: 8/15/16
       Retained/Representing: Scott Grossberg, Esq./ Defense




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Emma Hakobyan v. County of LA, et al.
     Venue/Case No.: Los Angeles County Superior Court Case # BC514205
     Deposition Date: 8/3/16
     Retained/Representing: Justin W. Clark, Esq./ Defense

Christian Vargas v. Mark Kasow, MD., et al.
        Venue/Case No.: Kern County Superior Court Case #S-1500-CV-284149 LHB
        Testimony Date: 8/1/16
        Retained/Representing: Richard Brenneman, Esq./Plaintiff

Justin L. Palmer v. City of Santa Monica, et al.
        Venue/Case No.: Los Angeles County Superior Court Case #15-CV-06183-SJO-JC
        Deposition Date: 7/18/16
        Retained/Representing: Carol Ann Rohr, Esq./ Defense

Amanda Jemison and Malissa Jemison v. Ian Howard Kessner, et al.
     Venue/Case No.: Los Angeles County Superior Court Case #BC544562
     Testimony Date: 7/14/16
     Retained/Representing: Rob Mackey, Esq./ Defense

Christian Vargas v. Mark Kasow, MD., et al.
        Venue/Case No.: Kern County Superior Court Case #S-1500-CV-284149 LHB
        Deposition Date: 7/13/16
        Retained/Representing: Richard Brenneman, Esq./Plaintiff

Ann Marie Maciel v. Servite High School, et al.
     Venue/Case No.: Orange County Superior Court Case #30-2014-00756847-CU-PO-CJC
     Deposition Date: 7/12/16
     Retained/Representing: Andrew Treger, Esq./Plaintiff

Debra Bleemer v. John Pinney, et al.
      Venue/Case No.: San Francisco County Superior Court Case #CGC14538799
      Deposition Date: 6/27/16
      Retained/Representing: Cody Saal, Esq./ Defense

Ruth Carlin v. Cosway Company, et al.
      Venue/Case No.: Los Angeles County Superior Court Case #BC563327
      Deposition Date: 6/2/16
      Retained/Representing: Linda Krieger, Esq./ Defense

Kent Hagan, et al. v. Torrance Memorial Medical Center, et al.
      Venue/Case No.: Los Angeles County Superior Court Case #BC523691
      Deposition Date: 6/1/16
      Retained/Representing: Phil Michels, Esq./Plaintiff




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Nicholas Stellate v. Federal Express, et al.
       Venue/Case No.: Los Angeles County Superior Court Case #BC536881
       Deposition Date: 5/31/16
       Retained/Representing: Robert Panza, Esq./Defense

Scott Raymond Busch, et al. v. Republic Services Alliance Group, Inc., et al.
       Venue/Case No.: Multnomah County Superior Court (OR) Case #15CV13496
       Testimony Date: 5/19/16
       Retained/Representing: Derek Ashton, Esq./Defense

Frank Rivera v. The Ensign Group, Inc., et al.
       Venue/Case No.: San Luis Obispo County Superior Court Case #14CV0319
       Testimony Date: 5/17/16
       Retained/Representing: Robert Shepard, Esq./Defense

Danielle Torres, et al. v. Amateur Athletic Union of the United States, Inc., et al.
       Venue/Case No.: Fresno County Superior Court Case #13CECG03213
       Deposition Date: 4/27/16
       Retained/Representing: Teresa Starinieri, Esq./Defense

Angela Domingos v. McJunkin Red Man Corporation, et al.
      Venue/Case No.: Kern County Superior Court Case #S-1500-CV-283822
      Deposition Date: 4/20/16
      Retained/Representing: Ian Stewart, Esq./Defense

Kelly Hendrickson; Scott Hendrickson v. Lowe’s Home Centers, et al.
       Venue/Case No.: Clark County, Nevada Court Case #A-13-687418-C
       Testimony Date: 4/12/16
       Retained/Representing: Esther Holm, Esq./Defense

Timothy Redman v. Dean Guy Tornabene, Design Technologies, Inc., et al.
      Venue/Case No.: Los Angeles County Superior Court Case #BC526141
      Deposition Date: 4/5/16
      Retained/Representing: Scott L. Macdonald, Esq./Defense

Kaley M. Henry v. Verengo Solar, et al.
      Venue/Case No.: Fresno County Superior Court Case #13CECG02934
      Deposition Date: 2/24/16
      Retained/Representing: Angie Bickel, Esq. /Defense

Nolan Uren v. Southern California Edision Company, et al.
      Venue/Case No.: Orange County Superior Court Case # 30-2013-00674950-CU-OP-CJC
      Testimony Date: 2/17/16
      Retained/Representing: Michael Rosenstein, Esq. /Plaintiff

Nolan Uren v. Southern California Edision Company, et al.




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       Venue/Case No.: Orange County Superior Court Case # 30-2013-00674950-CU-OP-CJC
       Deposition Date: 1/6/16
       Retained/Representing: Michael Rosenstein, Esq. /Plaintiff

Daniel Leipnik v. Douglas G. Brock, et al.
       Venue/Case No.: Santa Barbara County Superior Court Case # 1468022
       Deposition Date: 1/5/16
       Retained/Representing: Eric Woosley, Esq. /Plaintiff

Steven Paul Picazzo & Mary Picazzo v. C.W. Driver, Inc., et al.
       Venue/Case No.: Los Angeles County Superior Court Case # BC531187
       Deposition Date: 1/4/16
       Retained/Representing: Mark Vranjes, Esq. /Defense

Sarkis J. Khoury, Ph.D. vs. Lisa Ann Hayes, et al.
        Venue/Case No.: Riverside County Superior Court Case # RIC1307965
        Testimony Date: 12/10/15
        Retained/Representing: Jeffrey Weaver, Esq. /Defense

Paul Spector vs. Michael Bertolani, Fresno Plumbing & Heating, et al.
       Venue/Case No.: San Luis Obispo County Superior Court Case #CV130142
       Deposition Date: 12/4/15
       Retained/Representing: Christopher Faenza, Esq./Defense

Carla Zamarripa vs. Roberta Berryman Lehtinen, et al.
       Venue/Case No.: Santa Barbara County Superior Court Case #1468512
       Testimony Date: 12/3/15
       Retained/Representing: Augusto Focil Jr., Esq./Plaintiff

Ildefonso Vivanco; Gina Vivanco v. Merli Concrete Pumping, et al.
       Venue/Case No.: Los Angeles County Superior Court Case #BC532128
       Testimony Date: 11/30/15
       Retained/Representing: Eric Lamhofer, Esq./Defense

Carla Zamarripa vs. Roberta Berryman Lehtinen, et al.
       Venue/Case No.: Santa Barbara County Superior Court Case #1468512
       Deposition Date: 10/30/15
       Retained/Representing: Augusto Focil Jr., Esq./Plaintiff

Ildefonso Vivanco; Gina Vivanco v. Merli Concrete Pumping, et al.
       Venue/Case No.: Los Angeles County Superior Court Case #BC532128
       Deposition Date: 10/28/15
       Retained/Representing: Eric Lamhofer, Esq./Defense

Joshua David and Natalie Pierson vs. David Hernandez
       Venue/Case No.: Ventura County Superior Court Case #56-2011-00391849-CL-PA-VTA




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       Testimony Date: 10/13/15
       Retained/Representing: John H. Howard, Esq. /Plaintiff

Severo Mares, Jr. & Refugio Ramirez, Jr. vs. Ryan Bogunda; Papich Construction Co., Inc.
       Venue/Case No.: San Luis Obispo County Superior Court Case # CV138294
       Deposition Date: 8/17/15
       Retained/Representing: Teresa Starinieri, Esq./Defense

Kayne McCarty vs. United States of America, et al.
      Venue/Case No.: San Diego County Superior Court Case #13CV1602BAS
      Deposition Date: 8/13/15
      Retained/Representing: Dana Fox, Esq./Defense

Greg Gurin vs. Target Corporation
      Venue/Case No.: Ventura County Superior Court Case # VCSC56-2013-00443938
      Testimony Date: 8/4/15
      Retained/Representing: Armando Berriz, Esq./Plaintiff

Michael S. Lozier & Corrie J. Bird v. Cahill Contractors, Inc., et al.
      Venue/Case No.: San Francisco County Superior Court Case # CGC-14-539420
      Deposition Date: 7/24/15
      Retained/Representing: Brian Zimmerman, Esq. /Defense

Sarkis J. Khoury, Ph.D. vs. Lisa Ann Hayes, et al.
        Venue/Case No.: Riverside County Superior Court Case # RIC1307965
        Deposition Date: 7/7/15
        Retained/Representing: Jeffrey Weaver, Esq. /Defense

Marlene King vs. Richard William Gross; Bruce Lee Schmidt
      Venue/Case No.: Santa Barbara County Superior Court Case #1417667
      Deposition Date: 6/18/15
      Retained/Representing: John H. Howard, Esq. /Plaintiff

Joshua David and Natalie Pierson vs. David Hernandez
       Venue/Case No.: Ventura County Superior Court Case #56-2011-00391849-CL-PA-VTA
       Deposition Date: 4/16/15
       Retained/Representing: John H. Howard, Esq. /Plaintiff

Jany Amoroso v. Ben Pradhan, MD, et al.
      Venue/Case No.: Los Angeles County Superior Court Case #GC047679
      Testimony Date: 3/26/15
      Retained/Representing: Raymond Moore, Esq./Defense

Jany Amoroso v. Ben Pradhan, MD, et al.
      Venue/Case No.: Los Angeles County Superior Court Case #GC047679
      Deposition Date: 2/19/15
      Retained/Representing: Raymond Moore, Esq./Defense




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Jane Caj Doe v. Pathpoint, Inc., et al.
       Venue/Case No.: Los Angeles County Superior Court Case #PC052205
       Deposition Date: 2/13/15
       Retained/Representing: Vince Finaldi, Esq./Plaintiff

Ruth Rivera v. Foster Farms
      Venue/Case No.: Los Angeles County Superior Court Case #BC531764
      Testimony Date: 1/29/15
      Retained/Representing: Kenneth Ward, Esq./Defense

Marilyn Pink vs. Terry Shorten
       Venue/Case No.: Ventura County Superior Court Case #56-2013-00438249
       Deposition Date: 1/15/15
       Retained/Representing: John Howard, Esq./Plaintiff

Marriage of Klassen v. Launspach
       Venue/Case No.: Santa Barbara County Superior Court Case #1245483
       Testimony Date: 1/6/15
       Retained/Representing: Edward Thomas, Esq./Respondent

Leslie McLaughlin vs. CNL Lifestyle Properties, Inc., et al.
       Venue/Case No.: Los Angeles County Superior Court Case #MC023780
       Testimony Date: 12/8/14
       Retained/Representing: Steven Parminter, Esq./Defense

Greg Gurin vs. Target Corporation
      Venue/Case No.: Ventura County Superior Court Case # VCSC56-2013-
      00443938
      Deposition Date: 11/10/14
      Retained/Representing: Armando Berriz, Esq./Plaintiff

Derrick Evans v. Judy Regan and Does 1 to 50, inclusive
       Venue/Case No.: Los Angeles County Superior Court Case #MC023778
       Deposition Date: 10/27/14
       Retained/Representing: Gary Hoffman, Esq./Defense

Leslie McLaughlin vs. CNL Lifestyle Properties, Inc., et al.
       Venue/Case No.: Los Angeles County Superior Court Case #MC023780
       Deposition Date: 9/15/14
       Retained/Representing: Steven Parminter, Esq./Defense

Bryan Zavala v. Newport-Mesa Unified School District
       Venue/Case No.: Los Angeles County Superior Court Case #30-2012-00608514
       Testimony Date: 6/27/14
       Retained/Representing: Ric Ottaiano, Esq./Defense




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Margarita Aguayo v. Kenneth Owens
      Venue/Case No.: Santa Clara County Superior Court Case #112CV238240
      Testimony Date: 4/30/14
      Retained/Representing: Manuel Reynoso, Esq./Plaintiff

Margarita Aguayo v. Kenneth Owens
      Venue/Case No.: Santa Clara County Superior Court Case #112CV238240
      Deposition Date: 4/30/14
      Retained/Representing: Manuel Reynoso, Esq./Plaintiff

Bryan Zavala v. Newport-Mesa Unified School District
       Venue/Case No.: Los Angeles County Superior Court Case #30-2012-00608514
       Deposition Date: 4/11/14
       Retained/Representing: Ric Ottaiano, Esq./Defense

Melissa Mejia v. American Honda Motor Co.
       Venue/Case No.: Los Angeles County Superior Court Case #NC055490
       Deposition Date: 4/2/14
       Retained/Representing: Anthony Sonnett, Esq./Defense

Kaelke v. Kaiser Permanente, et al.
       Venue/Case No.: Los Angeles County Arbitration No. 11825
       Testimony Date: 3/21/14
       Retained/Representing: Richard Katz, Esq./Claimant

Kaelke v. Kaiser Permanente, et al.
       Venue/Case No.: Los Angeles County Arbitration No. 11825
       Deposition Date: 3/14/14
       Retained/Representing: Richard Katz, Esq./Claimant

Humberto Garcia v Sirav Navinchandra
     Venue/Case No.: San Bernardino County Superior Court Case #CIVR51105889
     Deposition Date: 2/18/14
     Retained/Representing: Thomas Butler, Esq./Defense

Lovell Waker vs. UMA Enterprises
       Venue/Case No.: Los Angeles County Superior Court Case #BC475037
       Deposition Date: 1/27/14
       Retained/Representing: Jason Dawson, Esq./Defense

Lucky Hoerner vs. Amy Jo Oster
      Venue/Case No.: Orange County Superior Court Case #30-2012-00597564
      Testimony Date: 11/19/13
      Retained/Representing: James Grandy, Esq./Defense

Kurt Pearson vs. Progressive Insurance




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      Arbitration
      Deposition Date: 11/4/13
      Retained/Representing: Robert Patterson, Esq./Plaintiff

Lucky Hoerner Vs. Amy Jo Oster
      Venue/Case No.: Orange County Superior Court Case #30-2012-00597564
      Deposition Date: 11/1/13
      Retained/Representing: James Grandy, Esq./Defense

James Laina v. Music Express, et al
       Venue/Case No.: Ventura County Superior Court Case #56-2012-00427670-CU-
       PA-VTA
       Deposition Date: 10/31/13
       Retained/Representing: James K. Lo, Esq./Defense

Rory O’Reilly and Laura Jewett O’Reilly v. United States of America
      Venue/Case No.: U.S. District Court, Central District Case #12-04365(SJO)VB
      Testimony Date: 10/17/13
      Retained/Representing: Martin Pulverman, Esq./Plaintiff

Anthony Perez v. County of Los Angeles
      Venue/Case No.: Orange County Superior Court Case #30-2012-00591164
      Testimony Date: 9/4/13
      Retained/Representing: Richard Houle, Esq./Defense

Jose Santos vs. Circus Circus Casinos, Inc.
       Venue/Case No.: Clark County, Nevada U.S. District Court Case #09-A-604733-
       C
       Deposition Date: 8/21/13
       Retained/Representing: Esther Holm, Esq./Defense

Jeffrey Sohn vs. Easton-Bell Sports, Inc., et al.
        Venue/Case No.: Los Angeles County Superior Court Case #LC095289
        Testimony Date: 8/6/13
        Retained/Representing: Donald Hammond, Esq./Plaintiff

Anthony Perez v. County of Los Angeles
      Venue/Case No.: Orange County Superior Court Case #30-2012-00591164
      Deposition Date: 7/22/13
      Retained/Representing: Richard Houle, Esq./Defense

Benjamin Ursu v. Caston Plastering & Drywall, et al.
      Venue/Case No.: San Bernardino County Superior Court Case #CIDVS 1009709
      Deposition Date: 6/19/13
      Retained/Representing: Esther Holm, Esq./Defense




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Juan Padilla vs. Cambron Roofing and Waterproofing, Inc. and Does 1 through 40,
inclusive
        Venue/Case No.: Underinsured Motorist Claim
        Deposition Date: 5/22/13
        Retained/Representing: Renee J. Nordstrand Esq./Plaintiff

B.M. by and through his Guardian Ad Litem, S.M. vs. Boys and Girls Club of
Huntington Valley, Inc.
      Venue/Case No.: Orange County Superior Court Case #30-2011-00504343
      Testimony Date: 5/7/13
      Retained/Representing: Jessica Helliwell, Esq./Plaintiff

Rory O’Reilly and Laura Jewett O’Reilly v. United States of America
      Venue/Case No.: U.S. District Court, Central District Case #12-04365(SJO)VB
      Deposition Date: 4/25/13
      Retained/Representing: Martin Pulverman, Esq./Plaintiff

BM vs. Boys and Girls Club of Huntington Valley
      Venue/Case No.: Orange County Superior Court Case #30-2011-00504343
      Deposition Date: 3/28/13
      Retained/Representing: Jessica Helliwell, Esq./Plaintiff

Randy and Lisa Herman v. Shijin Kim
      Venue/Case No.: Los Angeles County Superior Court Case #BC462952
      Deposition Date: 1/22/13
      Retained/Representing: Ivan Puchalt, Esq./Plaintiff

Cynthia Arias vs. Johnny Reed Beaudion
       Venue/Case No.: Ventura Superior Court Case #56-2008-00311086 CU-PA-
       VTA
       Testimony Date: 1/9/13
       Retained/Representing: J. Jeffrey Herman, Esq./Plaintiff

Thomas Cullen vs. Sierra Vista Regional Medical Center, et al
     Venue/Case No.: San Luis Obispo Case # CV 090223
     Deposition Date: 1/7/13
     Retained/Representing: Eric A. Woosley, Esq./ Plaintiff




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